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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------- x
UNITED STATES OF AMERICA,                           :
                                                    :
                              Plaintiff,            :          20-CR-351 (SHS)
                                                    :
v.                                                  :
                                                    :
ROBERT NEWLAND,                                     :
                                                    :
                              Defendant.
                                                    :
                                                    :
                                                    :
--------------------------------------------------- x


            DEFENDANT ROBERT NEWLAND’S MEMORANDUM ON
                           SENTENCING
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                                        INTRODUCTION

       Your Honor asked a question of Rob Newland at his guilty plea: Why did you do it?

       Rob answers this question himself in depth in a letter to the Court, attached hereto as
Exhibit A. The following pages seek to provide additional context and also – with significant
help from 96 letters of support – to reveal who Rob is.

       We submit that with a full understanding of both, the Court will conclude that this case
merits an unusual degree of leniency.

                                                     ***

       Rob Newland admitted his guilt because he knowingly lied to victims as part of a scheme
to defraud them that played out over years.

       However, Rob Newland is also an extraordinary and admirable person. He worked and
studied hard to achieve significant success from humble beginnings. He is a devoted father,
husband, son, brother, and colleague. He lives modestly and is well-loved by his community. He
is endlessly energetic and always curious, thoughtful, and eager to help. He assumes responsibility
freely and carries it uncomplainingly. He is ambitious, adventurous, stalwart and unafraid of risk.
He never gives up. He tries to do the right thing and he owns his mistakes, including forthrightly
telling his family and community that he pled guilty because he is guilty, without excuses.

       So, what led this exceptional man to commit such a serious crime?

       In Rob’s letter, and in the pages that follow, the answer is a sad but all too human story.

       To begin, Rob Newland did not set out to commit a fraud. A lifelong high achiever, at age
34 and with a second daughter on the way, he took a second step towards family and away from
his high-powered career (he had first left McKinsey; now he was leaving a business consulting job
inside Christie’s). Rob was raised in a closeknit family in rural Wales, and places family above
all else. The move away from Christie’s made sense – he wanted a calmer job so he could be more
available as a dad and husband. But given his exceptional talent, training and track record (prior
to McKinsey he studied both at the London School of Economics and HEC Paris, a top
international business school), Rob’s step off the fast track still meant moving to an exciting and
well-paid new position as the commercial director for a top London art gallery named                 .

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        His first assignment for his new boss, a leading figure in the gallery world named
         was to find a way to retain his most valuable employee, a superstar young art trader named
Inigo Philbrick.           was worried that Philbrick would leave, taking with him the astronomical
profits he had been generating for years. Over the course of the next four years, Rob watched
Philbrick’s unerring ability to spot valuable opportunities and make huge profits on art trades,
buying works at one price and soon selling them at a much higher one. Rob’s key responsibility
to           was to keep Philbrick in harness, generating miraculous profits.

        For Rob, the path to his crime began with the best of intentions. He had always been
driven, adventurous and willing to take risks, and had always wanted to start his own company.
Soon after he started work for            he realized his core skill – identifying the strategies that
would make a business sing – was sorely lacking in the world of art dealing. Witnessing
Philbrick’s rare talent, Rob soon began to imagine building a business with him, where Rob used
his business acumen to make the most of Philbrick’s eye for art.

        Rob initially saw a clear path to this goal within his role in a separate joint art trading
venture that           and Philbrick formed together. But they both struggled with the limitations
placed on them by their partnership, and in time the relationship broke down to the point where
Rob faced a choice: give up his goal of forming a business with Philbrick, or leave               and
pursue it.

        When Rob opted for the latter and began working for Philbrick, he had no idea Philbrick
was engaged in fraud. He only knew what Philbrick showed everyone else, from                   to the
many other art world players who were eager to cash in on Philbrick’s exceptional talent. Rob
thought his first day working for Philbrick would be a major step toward achieving what had, by
that point, become a long-held dream.

        As Your Honor already knows, it all went spectacularly wrong. Philbrick was engaged in
a fraud and, before long, Rob was helping him commit it. Rob pitched Philbrick on hiring him as
a consultant to take over the nuts and bolts of Philbrick’s business, saying his work would free
Philbrick up to focus on what he did best. But when Rob got inside Philbrick’s business, he found
chaos – patchy financial records that did not always match with what Philbrick said and a serious
cash flow problem. Ever the problem solver, Rob dug in and tried to do his job – helping
Philbrick’s business – but in time, with small steps at first and then larger ones, Rob became

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Philbrick’s fraud’s back office: repeating Philbrick’s lies, forwarding along doctored documents,
helping Philbrick strategize about who to pay what and when, all in order to keep the fraud from
collapsing.

       Rob committed the crime. He pled guilty because he is guilty.

       But even in his commission of the crime, Rob’s engagement was definitionally different
from Philbrick’s. Rob did not view himself as having joined a fraud. That was too big a leap of
mind after betting not only his career on Philbrick, but also his life savings on Philbrick’s trades
(something he did years before quitting               ). A determined business consultant with a
difficult task at hand, Rob remained laser-focused on saving Philbrick’s “business.”

       He did this in ways that support his guilt, but also in ways that sharply mitigate his moral
culpability. Throughout, Rob worked to fix the problem – hoping to pay off Philbrick’s debts and
square the books. He used sale proceeds to do this, squandering none. He never put victims’
money into his own pocket. Philbrick had hired him at a monthly rate matching Rob’s prior salary
for a guarantee of at least half his time. Rob received his first month’s pay and never saw another
penny. He ended up working for Philbrick for $250 a week over 20 months.

       Rob spent no money on himself, lived modestly with his wife (
                                ), and two young daughters. He bicycled to work and drove to
camping vacations in a second-hand economy car, wearing sweaters knit by his mother.

       Rob committed the crime, but he did not seek it out or profit from it. Displaying many of
the traits that would have made him so valuable had he joined a business struggling for honest
reasons, he applied his never-give-up mentality, dug in, tried to fix things, and took far, far too
long to leave.

       But eventually he did. After 20 months, Rob finally lost faith in Philbrick. He had long
believed that Philbrick could save the business by doing what Rob had witnessed him do
continuously for more than four years and saw records of for years prior – pull off the kind of
spectacular deal that would solve their problems and square the books. Philbrick had no doubt it
would happen, he remained sunny and breezily confident throughout. He told Rob to stop
worrying, that the market was interested in their artists. A great deal was always in sight. But



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after 20 months with Philbrick, out of faith and money too, Rob needed to move on and support
his family, so he left.

        He did not do so cleanly – when he tried to cut all ties, Philbrick threatened to take any
losses out on the one investor Rob had met and felt most responsible for – but his involvement
became minimal. He knew nothing about what Philbrick did during the fraud’s final year, nothing
about Philbrick’s flight until he went missing, and played no part in Philbrick’s looting or wasting
of the fraud’s assets.

        Rob Newland is guilty, but his sins are a far cry from Inigo Philbrick’s. The government
agrees Rob deserves a lesser sentence in recognition of his role, and as explained more fully below,
Rob’s sentence should be determined in relation to the sentence Philbrick will actually serve – 48
months – not the 84 months to which he was sentenced. (This is because, as a non-U.S. citizen,
Rob cannot earn a similarly reduced sentence because the key Bureau of Prison programs
Philbrick, an American, used to obtain his reductions are unavailable to Rob.)

        Rob is not only distinguished from Philbrick by their roles in the offense, but also by who
Rob is and the life he has led. As detailed in the 96 letters of support, Rob was universally known
for his generous, thoughtful, energetic and enthusiastic dedication to his family and community.
His selfless devotion to his wife, children and wider family are, as the Court will soon read, a
testament to his humanity.

        Yet this is not even what is most extraordinary about Rob. Many give their absolute best
to their families, but Rob offers the same for his community. For the kids, he is the go-to dad for
fun, from petitioning the local authorities to create a space for them to play, to leading madcap
games of his own devising that the children anticipate with delight each week. He is also the adult
who is always available to help, whether ensuring an autistic neighbor is included in the fun and
games, or tutoring others’ children in academic straits, or even stepping up as the stand-in dad
where a father is absent.

        For the adults in his orbit, he is the model neighbor, colleague and friend they most hope
to be more like; numerous letter writers make this exact point. He is the person who always has
the time to offer real attention, help, and friendship – from advising local businesses on how to
survive and thrive, to digging into how to get a new job or promotion, to brainstorming about how


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to best raise a child with a learning disability, or teach a fearful son to ride a bike, or develop a
new confidence in math. Through his constant and accumulated acts of generosity and kindness,
Rob not only stitched his community together, but helped form it – creating a new and better one
than he found, something many of the letter writers note, and one describes movingly. See infra
pp. 23-24.

       The depth and breadth of Rob’s personal history and characteristics take him as far outside
the heartland for fraud defendants as his unwittingly joining someone else’s serious fraud, not
seeking to profit from it, and ending up paying nearly $400,000 in lost earnings to commit it.




       Rob’s story is the stuff of classical tragedy, but at human scale, as so many of the traits that
make him so special – his energy, curiosity, drive, vision, adventurousness, doggedness and
willingness to try and fix someone else’s problem – conspired against him when he unwittingly

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signed up to work for a fraud. His reaction to what he discovered, together with his own self-
admitted stupidity, denial and – most of all – weakness, fear, and shame (these alone are where
Rob’s focus rests), form the backbone of the answer to Your Honor’s question.




                                              FACTS

       A.      Rob’s Personal History and Characteristics

       1.      Wales

       Rob grew up in a small, rural community near the town of Cardigan in coastal Wales. His

father was an engineer for the Royal Navy, designing ships; his mother retired from midwifery to

take care of her children upon the birth of Rob’s eldest brother, James. Rob was the third of the

four boys;

       The family was extraordinarily close knit, never missing dinner together throughout Rob’s

childhood. His mother believed a “stable loving background does not just happen, but has to be

worked for,” and her work bore fruit – a lesson not lost on Rob who, among other things, woke up

earlier than necessary so that he could spend time talking with his father before he headed off for

work. Cynthia Newland Ltr., Ex. B.3, at 3 (hereinafter, C. Newland (mother), Ex. B.3); Oliver

Forrest Ltr., Ex. B.64, at 2 (childhood friend).

       Rob was an affectionate child, eager to please his parents – his siblings teased that he was

their mother’s favorite due to his constant help around the house, chopping firewood, and even

serving as an assistant when the family moved house – but he was far from a mama’s boy. C.

Newland (mother), Ex. B.3, at 1-2; Ben Newland Ltr., Ex. B.2, at 1 (hereinafter, B. Newland


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(brother), Ex. B.2). His mother remembers that, “[e]arly on he showed either great stubbornness

or endurance beyond the norm.” C. Newland (mother), Ex. B.3, at 1. His father notes that, “he

was more interested in adventure (risk) and sport and was very competitive” compared to his

brothers. Nick Newland Ltr., Ex. B.5, at 2 (hereinafter, N. Newland (father), Ex. B.5). As a little

boy, Rob’s appetite for risk and adventure was made plain via the occasional broken collarbone

from an errant bicycle jump or the dirt from taking a dare to crawl through the 20-foot tunnel under

the family’s driveway. C. Newland (mother), Ex. B.3, at 2. As he grew older, he channeled it and

his extraordinary stamina (or stubbornness) into rugby, rock climbing, rowing and mountaineering

with the Royal Air Force local cadet (clambering up and down “the exciting Crib Goch route” of

Snowden, Wales’s highest peak). N. Newland (father), Ex. B.5, at 2.

       Rob was also notably generous as a boy. In their letters, his family recount a number of

stories relating the point, from giving his saved allowance to James

                             to throwing himself into befriending two much younger Russian

children the family took in following the Chernobyl accident,



                                           Matthew Newland Ltr., Ex. B.4, at 1 (hereinafter, M.

Newland (brother), Ex. B.4); B. Newland (brother), Ex. B.2, at 2; James Newland Ltr., Ex. B.12,

at 1 (hereinafter, J. Newland (brother), Ex. B.12); N. Newland (father), Ex. B.5, at 2; C. Newland

(mother), Ex. B.3, at 2. He also looked out for his family and friends – keeping an eye on his little

brother, coaching his friends through difficult times, and captaining his rowing team via “his

unique mix of drive, belief and compassion.” James Coughlan Ltr., Ex. B.84, at 1.

       Rob was also dutiful, not only to his family and friends, but to his small, close knit town.

He served (reluctantly) as a choir boy and played the trumpet every year for the town’s



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Remembrance Day parade for World War I and World War II veterans. C. Newland (mother), Ex.

B.3, at 3 (“Rob hated it but stuck to it as a duty and the house echoed with his practice.”). As he

got older, he was the “reliable friend making sure everyone got home safely [in taxis] at the end

of the evening,” and “always the one to walk away from any mischief that boys would get up to

. . . [he would] inevitably be the peacemaker, the one with the level and fair outlook on any situation

that arose.” Anja Dunk Ltr., Ex. 48, at 1; Keith Wills Ltr., Ex. B.47, at 2. He was “good fun, but

at the same time sensible and dependable.” Anja Dunk Ltr., Ex. 48, at 1.

           2.       University, Business School & Early Career

           Rob earned a place studying economics at the London School of Economics. Several of

his classmates became lifelong friends, submitting letters to Your Honor. Most focus on the time

since, but one describes the transition from school to university:

                    Rob grew up in a small town in Wales, where everybody knew each
                    other, which helped turn him into a very trusting person who always
                    sees the best in others. When I first met him when we both arrived
                    in London to go to university, he was wide-eyed, discovering a
                    diverse world he had no idea was out there. This has had wonderful
                    implications, as Rob has always been very open, friendly and caring
                    when meeting any of my other friends or wider family and has a true
                    welcoming openness to him, sometimes bordering on a child-like
                    naïveté.1

Sean Joyce Ltr., Ex. B.8, at 2.

           After three years studying in London, Rob headed to HEC Paris, one of the world’s top

business schools in pursuit of an MBA. He bonded with the other foreign students. They describe



1
    Rob’s brother Ben also notes Rob’s unusual willingness to extend “deep trust” in people:

                    My parents still have the “17th Century Nun’s Prayer” hanging in the downstairs
                    toilet room, and the line “give me the ability to see the good things in
                    unexpected places and talents in unexpected people” rings very true of Rob,
                    who’s instinct is to assume the best of someone.

B. Newland (brother), Ex. B.2, at 3-4.

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him as in “constant search for complex situations and answering them,” “extremely hard working

and goal oriented,” and clearly “someone eager to learn, discover and challenge himself.” Harald

Meinders Ltr., Ex. B.66, at 1; Gisle Gluck Ltr., Ex.B.41, at 2. Rob was “a leading force” in the

subjects that interested him, driven by his “curiousness, desire to understand how things work, and

not least a strong drive to create something of value to society.” William Germain Ltr., Ex. B.19,

at 1. He also possessed an extraordinary work ethic that showed itself both on study projects and

solving problems of a different kind: pursuing his passion for rock climbing. Id.

       Indeed, for six months after Rob earned his MBA, it was the problems of the rock face, not

the balance sheet, that consumed him:

               We were both very determined and motivated rock climbers during
               this time. We lived a very simple lifestyle, eating only basic food
               with no alcohol, simply climbing, as much as we could, and trying
               to push the boundaries of what we were able to achieve on rock. We
               spent almost no money (only food plus some fuel when we moved
               between different rock climbing locations) and slept in an old Land
               Rover for accommodation.

Oliver Forrest Ltr., Ex. B.64, at 1.

       Following this hiatus, Rob began his career in business, moving to Birmingham for two

years’ executive management training with Mitchells & Butlers, a British restaurant and pub

company, before earning a spot managing a chain of its London pubs. Two years later, Rob

secured a position in McKinsey’s Oslo office. He loved the problem solving of management

consulting and relished the adventure of living in Norway. He worked hard, traveling constantly,

and “played” even harder, completing an Iron Man triathlon (2.4-mile swim; 112-mile bike ride;

26.2-mile run) and Norway’s Birkebeiner, a 34-mile cross-country ski race, despite being a

sufficiently inexperienced skier that his colleagues posted a sign afterwards saying, “if he can do

it, anyone can.” N. Newland (father), Ex. B.5, at 2.



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        During his time at McKinsey, Rob returned to the UK as often as possible to visit

his future wife, whom he had met while in Birmingham. In 2009, two years into McKinsey, and

just 30, Rob began looking for a way back to the UK and                 He soon secured a position as

a Strategy Manager, heading a three-person internal consulting team for the international auction

house Christie’s London office. His work was extremely similar to McKinsey, but instead of

solving problems across various companies and traveling constantly, he was only solving problems

inside Christie’s. While not exposing him to the art, artists, auctions or bidders that drive Christie’s

business, the position required him to analyze a wide range of business questions, such as whether,

where and how much to cut costs across the company’s international offices, what strategic plans

the various diversified businesses should pursue, and whether to open a location in China. While

the work was still intense and required travel, it did not carry anything like the same workload (or

possible future remuneration) as McKinsey. But Rob was very happy to take a step away from the

fast lane to focus on         and starting a family. They were married within months of his return,

and          gave birth to their daughter,        in 2010.

        Two years later, with a two-year-old at home and a newborn on the way, Rob received a

call from a headhunter pitching a job as the commercial director for a top London gallery called

             . Seeking to take another step toward the kind of work-life balance that would pair

well with raising children the way he wanted to, and thinking that learning about the gallery world

would be interesting, Rob took the job.         As detailed below in addressing the nature and

circumstances of the offense, he soon met Inigo Philbrick, who was also working for the gallery’s

owner, and the story that led to the crime of conviction began.

        3.      Family & Community

        Following his return to the UK and marriage to             Rob built the life that defines him.

In the months leading up to            birth, he and          bought a home in            a quiet, late-
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gentrifying, family-oriented neighborhood in West London. From then until now, his life has

revolved around family and community first, and work second.

        a.      Family

        In 2013,         and Rob’s second daughter,        was born and Rob threw himself further

into parenting. He happily sacrificed to create the space necessary for the kind of family he came

from and wanted, quitting rock climbing (too high risk; too time consuming) and going to bed

“earlier than the other adults” in order to get his cycling in at “unbelievably unsociable times so

that he does not miss any time with his girls.” David Hall Ltr., Ex. B.42, at 2; Dinah Hawkyard

Ltr., Ex. B.39, at 1.

        Rob and          chose not to send their girls to private schools, “[p]artly because we were

both educated in state schools and believe there is much to be learned about the world within that

environment, and also so we would not be overly stretched in our finances and could live

comfortably on what we earned.”                            Ex. B.1, at 2 (hereinafter,

(wife), Ex. B.1). She explains further:

                We have always had a very similar financial outlook, which is
                hugely helpful within our relationship. We are both hard-working
                and driven, and want to succeed through that path. Neither of us
                expected to be handed anything on a plate. We both also know that
                more money does not bring more happiness. Rob has worked with
                very financially, successful, unhappy people. I could have taken on
                additional lucrative, private work                 ,2 as many of my
                colleagues do, but we decided that what we were earning was
                enough. What was more important to us was the time with the
                family.

Id.

        Rob and          ran the household as equals, with Rob jumping into every aspect of raising

children. “To say Rob is ‘hands on’ does not do him justice: he is comprehensively and


2


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energetically engaged in all aspects of family life,” including all aspects of making the household

work: cooking, cleaning, school drop offs and pick up.” Alice Muhlebach Ltr., Ex. B.13, at 1.

                  What I remember most about Robert during those early years is not
                  just how often I would spot him at the school gates; it was that after
                  saying goodbye to his daughter (at which point most of the other
                  parents would inevitably rush off to start their busy day), Robert
                  waited behind to see        climbing the stairs to her classroom so
                  that he could wave one final goodbye to her through the window.

Edward Sunderland Ltr., Ex. B.11, at 1.

         Rob’s exceptionally thoughtful, present, constant and loving care for his daughters forms

one of the two subjects nearly every one of the 96 letter writers dwell upon.

         The other is play. Many letters note Rob’s ability to “make[] fun happen.” C. Newland

(mother), Ex. B.3, at 3. Inside the house, where                   perhaps somewhat plaintively, notes Rob,

“insist[s] that the toys be able to take over the house . . . [h]e always tells me we can have a tidy

house when they have grown up and left home” – that means board games, storytelling,3 sliding

down the stairs on mattresses, cooking, learning instruments, doing puzzles and – most importantly

(by far) spending time at the Lego table Rob custom built.                          (wife), Ex. B.1 at 1. Friend

and neighbor Nicholas Gillet describes it best:

                  Visiting Rob in his home as I have many times, the first thing that
                  strikes you is the Lego. Not ready-made kits, but volumes of the
                  stuff, some made into elegant towers, some into crazy vehicles,
                  some into city scenes, but all built alongside his girls:
                         The special Lego building table in his kitchen, which, partly
                  overflows to a nearby sideboard, is a hotbed of invention, and
                  reinvention that changes with every visit. . . .

                  Although a great many parents encourage their children’s curiosity
                  and design ability by buying them Lego, few in my experience spend
                  the tracts of quality time that Rob does, helping, sorting, offering
                  design pointers, and facilitating his daughters’ burgeoning love of

3
  “He made up stories to tell them, often featuring barely disguised members of the family, giving them rather risqué
traits, which would have the girls fits of giggles, but also show them that they too could make up stories.” Janet
Jelbert Ltr., Ex. B.57, at 2.

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               engineering. It’s inspiring to see, and all the more so when both girls
               clearly adore him and the projects they built together.

Nicholas Gillet Ltr., Ex. B.9, at 1.

       Outside the house, Rob makes life fun and adventurous, too, whether at home in               –

cycling everywhere, climbing at the gym, doing jiu jitsu with          running in the weekly 2k, to

be followed by a game of “Cooking Pot” (more later) – or when camping or visiting family in

Wales where the outdoors takes centerstage, including water fights, paddle boarding, hiking,

canoeing, tree climbing, obstacle courses, timed races in wheelbarrows, or the various made-up

games that earned names from Shark Attack to Polar Bears and Penguins to the “be in water” rule.

Alice Muhlebach Ltr., Ex. B.13, at 2 (“the three of them [Rob,                  ] had to ‘be in water’

at some point on every day of the holiday – some days that involved swimming at the beach, but

on others it could involve a creek or any other water body that presented itself, . . . if no

opportunities readily presented themselves, Rob actively sought them out.”).

       Amidst the fun, “academic development is not overlooked: on my last stay with Rob and

his family, his daughters were regularly challenged before school with long addition and

subtraction of 10 digit numbers.” Richard Jelbert Ltr., Ex. B.62, at 2; see, e.g., Shaun Terry Ltr.,

Ex. B.44, at 1 (“Rob . . . dedicated six months to tutoring       n Maths before her regular school

day, even giving up our cycling sessions during that time.         benefited immensely from these

pre-breakfast tutorials, and her academic performance has surpassed many of her peers.”); B.

Newland (brother), Ex. B.2, at 3 (“I see first-hand the time he puts into helping

with school projects, or improving their painting skills, or explaining historical events, etc. Rob

and          read an impressive amount to their children, instilling a love of books . . . [and my

wife and I] were quite taken by the children’s Christmas stockings being stuffed so full with

books.”).


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       Rob and             thoughtful, conscientious and fully engaged parenting is covered with

the fingerprints of the problem solver previously focused on rock faces and financial analysis.

What is most fun about a game? Chasing. Make up chasing games. What’s best for girls growing

up in an age of screens? Creating buildings from their imaginations. How to develop empathetic

children? Instill a love of reading. Why can’t a childhood be filled with fun, love and learning?

With enough energy, devotion and love – three things Rob Newland has in spades – it can.

       If judged by                  the investment has paid off. They are:


              “the most kind, thoughtful and fair children I know” (Liisa Chauhan Ltr., Ex. B.28,
               at 1);

              “well-rounded, kind, thoughtful, creative, funny and courageous” (Bharat Parmar
               Ltr., Ex. B.16, at 1);

              “sporty, extremely bright, bookworms, have wonderful friendships and love life”
               (Carmen Prem Ltr., Ex. B.14, at 2);

              “very grateful and kind children, clearly shaped by a very loving environment”
               (Rosie Dutton Ltr., Ex. B.22, at 1);

              “outgoing, capable, courageous and caring young people” (Guy Billings Ltr., Ex.
               B.89, at 2);

              “intelligent, eloquent, polite and funny kids” (Harald Meinders Ltr., Ex. B.66, at
               2);

              “like him, they are down to earth and genuine people” (Lucy O’Shaughnessy Ltr.,
               Ex. B.27, at 1).

       b.      Wider family

       In addition to                            Rob’s relationships with his parents and siblings

and their children also play a major role in defining who he is.




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        Perhaps oddly as the third of four boys, Rob was the Newland sibling who stepped up,

“took others under his wing, protected the family and kept the family together then and now.” B.

Newland (brother), Ex. B.2, at 1.

        Rob assumed responsibility for keeping the family close by organizing family gatherings

three or four times a year. M. Newland (brother), Ex. B.4, at 2; see, e.g., Heike Newland Ltr., Ex.

B.20, at 1 (hereinafter, H. Newland (sister-in-law), Ex. B.20) (“He is the one who insists upon

family events to get everyone together, such as family holidays, family dinners, and Christmas”).

        He also took on the burden of serving as the family’s financial backstop to support
                                                                                               4
                                                                                                   E.g.,

Laura Joyce Ltr., Ex. B.10, at 2 (“Rob is very aware

                                                . . and Rob has placed the responsibility of providing

this on his own shoulders”); Sean Joyce Ltr., Ex. B.8, at 2 (“Prior to being married [Rob] always

felt the responsibility to put himself in a financial position to provide

      .”).




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               .

       As to his family’s children, when they all get together, “it is no exaggeration to say he is

their holiday.” M. Newland (brother), Ex. B.4, at 2. “[W]hile everyone else would rather relax . . .

Rob is always trying to find interesting things to do,” typically outdoor adventures that span from

building driftwood tents and searching for crabs at the local foreshore to marching them all up and

down Snowden to lengthy games of “shark attack” in the freezing coastal water. H. Newland

(sister-in-law), Ex. B.20, at 1. “He seems to have a natural affinity with children that brings out

the best in them, and generally stretches them to new capabilities. . . .Whenever he is here with us,

we become a magnet for children.” N. Newland (father), Ex. B.5, at 2.




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       Rob’s family-first approach to life does not just extend to his nuclear family, brothers and

parents. Multiple letter writers discuss his efforts with his sister-in-law’s son, an only child with

divorced parents,



                    see also, Alice Muhlebach Ltr., Ex. B.13, at 2 (noting Rob extends to

“substantially the same care and energy he shows his own daughters”); Richard Jelbert Ltr., Ex.

B.62, at 1 (“[Rob] had a significant part to play in helping             to become the wonderful,

loving, funny, confident and happy boy that he is.”).

       Recognizing all the above, Rob’s brother Ben says Rob has been an “inspiration to . . .

become more helpful and selfless.” B. Newland (brother), Ex. B.2, at 3.

       c.      Community

       Rob’s commitment to and role in his community is, if anything, even more exceptional.

He serves as the “fun dad” to the neighborhood children, inventing games and fostering joy, but

also catering his help to the needs of individual children in the neighborhood. For many busy

parents, he has not only stitched their children’s community together through his time and energy,
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but has also forged relationships with neighbors, ranging from a handyman to a bus driver to a

local restauranteur to a member of the House of Lords. Rob generously donates his time –

seemingly to everyone in the neighborhood – helping them, often profoundly, with problems that

stretch from raising a child with learning disabilities to keeping a business afloat or improving it

to getting a job or promotion. “He is a person who is generous with the most finite and precious

resource we have: Time.” Guy Billings Ltr., Ex. B.89, at 3.

       i       Children

       Rob is the “most fun parent” in          the “go to dad for fun,” and the “children’s favourite

dad.” Aimee Morgans Ltr., Ex. B.31, at 1; Bharat Parmar Ltr., Ex. B.16, at 1; Dougal Shaw Ltr.,

Ex. B.43, at 1. He “is extremely generous” and in possession of “a seemingly endless supply of

creative games, often invented on the spot, that captivate and engage the children for hours on

end.” Dougal Shaw Ltr., Ex. B.43, at 1; Bharat Parmar Ltr., Ex. B.16, at 1. First and foremost is

Cooking Pot.

               This is a game where Rob and another unlucky parent, such as
               myself, would guard an area called the “cooking pot”, and then
               chase the group of our children playing around the playground, and
               carry them back to the “cooking pot” one by one, whilst the ones
               still free would try to tag the others in the pot to release them. . . .
               Much to the delight of the kids, and the bemusement of onlooking
               parents watching two middle-aged adults humiliating themselves,
               trying to catch the much faster and agile little monsters.

Tej Chauhan Ltr., Ex. B.21, at 2.

       Cooking Pot takes place every Saturday after “Park Run”, a 2k race at the local park which

Rob attends, “every week, rain or shine, not just supporting his children on the run, but all those

kids who are interested in setting a new ‘personal best’ or just needing some extra encouragement

. . . tirelessly cheer[ing] them on, or run[ning] right next to them, coaxing them to run just a little

bit faster using his running experience.” Id.


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       Numerous letter writers note Rob’s active engagement encouraging other people’s children

in “sport”:

              “He will be the first Dad to get involved in throwing a ball around for my boys.”
               Dinah Hawkyard Ltr., Ex. B.39, at 1.

              “He has often helped my own daughters improve at rock climbing at our local wall.”
               Dougal Shaw Ltr., Ex. B.43, at 1.

              “He was always very generous with his time and would take other kids out on the
               canoe as well.” Catherine Glover Ltr., Ex. B.51, at 2.

              “[He] has also been very good with my children. He likes to play with them, always
               encourages them to do and be their best and is like an uncle to them.” Carmen
               Prem Ltr., Ex. B.14, at 1.

              “Rob has developed a reputation as the go-to person for helping reticent children
               learn how to bicycle . . . [helping] mine and many others with his trademark
               ‘pretend you are holding the saddle, run with them, and let go without them
               realizing it’ – but somehow managing to enhance all of us parents’ enjoyment of
               this rite of passage, by coaching us to coach them with him.” Zoe McDougall Ltr.,
               Ex. B.17, at 1.

       His impact is not limited to sports. Rob organized “Play Streets,” a “monthly event . . .

where the road is closed . . . and children can play outside.” Lucy O’Shaughnessy Ltr., Ex. B.27,

at 1. “[He] applied to the local government for a permit to run the event, such that the road could

be closed and cordoned off, and the children could play freely for a whole afternoon.” Adrian

Gans Ltr., Ex. B.33, at 1. “At the appointed hour, . . . children begin to emerge from their houses

with bikes, scooters, skipping ropes and footballs. Younger kids draw on the street with chalk and

play tag and hopscotch. Their parents chat and laugh and gather in groups to enjoy themselves. .

. There is something idyllic about it all.” Simon Richardson Ltr., Ex. B.45, at 2.

       In addition to fun, sports and Play Streets, the letters are also rife with stories of Rob taking

time out for other people’s children:




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       




       



               Christopher Walsh Ltr., Ex. B.38, at 1 (local restaurant owner).

              Another example of Robert engaging and thinking about children
               and family is a time with our eight-year-old son. We were at an art
               opening, which can be boring for younger children. Robert had a
               business card which he showed to our son. He and my son then
               created a scenario together where Robert wrote “special” numbers
               on the card which would enable our son to gain access behind a
               secret door. They carried on this conversation over many months
               and years and my now 15-year-old son still has the business card
               today.

               Tom Wolseley Ltr., Ex. B.63, at 1.

       ii      Adults

       Rob’s investment in his community is not limited to its children. “For many, he is the first,

and sometimes only person turned to [for] professional and personal problems. He doesn’t just

give an opinion, he goes out of his way to help.” David Hall Ltr., Ex. B.42, at 2. Notable examples

include:

              Advice to a local restaurant

               Rob was one of the first people, as we started to emerge from the
               first lockdown, that contacted me to see how we were doing with
               real concern for our future. What then proceeded was hours and
               hours of support and energy from Rob seeing him working with me
               to help identify how we could best cope and implement strategies
               that we could put in place to somehow try and save my family
               business. So not only was his unpaid time and effort severely


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       welcome but it was valuable and I would say an important factor in
       our survival.

       Christopher Walsh Ltr., Ex. B.38, at 2.

      Advice to a local plumbing company

       I run a successful local plumbing company and 2 years ago Rob
       helped me to structure an incentive system to help me reward and
       maintain my senior staff. I implemented this and it’s been very
       successful. He helped me and spent many evenings working on it
       without asking for a penny in return.

       David Halpin Ltr., Ex. B.53, at 1.

      Advice to a local gallery

       I established my gallery space . . . towards the end of 2019. . . .
       Robert’s enthusiasm about having the gallery as a new facet of the
       community was very encouraging. . . . In many ways, Robert
       became a mentor to me. Although I wasn't a newcomer to the art
       world, I was still finding my feet as a permanent gallery owner.
       Having Robert there to guide me answer my queries, and
       continuously encourage me was a godsend.

       Jewel Goodby Ltr., Ex. B.59, at 1.

      Advice to a recent graduate

       During the beginning of 2016, I was applying for my masters degree
       in physiotherapy. I was offered an interview at Saint George’s,
       University of London, which involves six rounds of role-play,
       practical task, clinical question, problem-solving tasks and personal
       questioning. Interviews have always been of things I have never
       been successful in and came with huge amounts of dread and
       anxiety.

       Rob offered to help me and kindly sat down with me for a generous
       number of hours, and we practiced interviewing and interviewing
       skills. Rob put a lot of effort into this, and was extremely patient
       with me, reassuring, and provided lots of constructive advice. I was
       successful in this interview, and they offered me a place on a course
       which had 250 applicants, and only 20 places. . . . Those hours gave
       me the courage and confidence in a form that I never thought I had.

       Rosie Dutton Ltr., Ex. B.22, at 1 (former babysitter).



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       Writ large, Rob supports the community by modelling himself as an exemplary neighbor.

From “extending warm invitations to barbecues . . . even at the slightest hint of sunshine,” to

“helping out at the local church soup kitchen . . . [taking] time to talk to them and often stay[ing]

long after his shift.” Bharat Parmar Ltr., Ex. B.16, at 1; David Halpin Ltr., Ex. B.53 at 1. One

neighbor eloquently sums up the full scope of the impact:

               In the years before the Newlands moved into the street,
                        had been an averagely attractive, averagely quiet, corner of
               suburban West London. People were polite and friendly enough, but
               there was not a great deal of interaction between neighbours and
               very little to be had in the way of fun. That all changed with the
               arrival of Robert. Within a few weeks of moving in he had met and
               befriended almost everyone on the street, stopping to chat with
               everyone he bumped into, offering to help move furniture or the
               ferry children. . . .

               For Robert, being open, friendly and caring is completely natural;
               he can't help doing what he can to make life better— more fun,
               essentially — for everyone. . . . His behaviour encouraged his
               neighbours to talk to each other, to help out when help was needed,
               to share thoughts and ideas and to work together to get things done.
               Without me realizing it, he had made me contemplate ways that I
               could make a small difference to life on                   . I started
               to look in on my elderly neighbour. I did a weekly litter pick, and I
               too began to find time to stop and talk and care. His behavior was
               contagious – it became entirely normal on                          for
               neighbors to exchange a friendly word, to offer a helping hand, or
               to be on hand with a badly-needed cup of coffee, or a consoling glass
               of wine.

Simon Richardson Ltr., Ex. B.45, at 2.

       d.      Rob’s Make Up

       The letters in support of Rob discuss many of the personal traits that have led to his impact,

most frequently detailing his generosity, warm-heartedness and tirelessness, traits amply shown in

the above. They also include other observations relevant to Your Honor’s decision about who Rob

is and what makes him tick.



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       To begin, Rob’s family and friends from childhood to university and business school to

young adulthood and middle age, all agree that Rob has never been materialistic or driven by

money. E.g., Laura Joyce Ltr., Ex. B.10, at 2 (friend of 20 years) (“Rob rarely buys clothes and is

often found wearing a jumper knitted by his mom.                 buys her,                     clothes

mainly from thrift shops, and they make full use of hand-me-downs. Rob and                own one car

— a Skoda — that they have had for many years and often holiday at their parents’ homes . . .

.”); Frances Ward Carpenter Ltr., Ex. B.40, at 2 (“Rob and                are genuine, unpretentious

people who have no interest in expensive cars or fancy holidays. They enjoy camping trips with

their kids and spending time with their many close friends.”); N. Newland (father), Ex. B.5, at 3

(“He’s not in the least avaricious . . . [h]e’s never changed jobs for the money, always for the new

challenges they presented.”); Keith Wills Ltr., Ex. B.47, at 1-2 (“Never has Rob been the person

that must have the latest gadget, the coolest car, the best clothes, none of that matters to Rob.

Family, above all else matters to Rob, more than I can convey.”).

       Many also note Rob’s “plucky, risk-taking and competitive streak.” Dougal Shaw Ltr., Ex.

B.43, at 1. This observation comes loudest from his cycling friends who note that despite not

being “the most talented athlete,” he is “competitive to his core.” David Hall Ltr., Ex. B.42, at 2;

see also, Jon Osborne Ltr., Ex. B.7, at 1 (“he has to win everything!”); David Hall Ltr., Ex. B.42,

at 2 (“what he lacks in talent . . . he more than makes up with effort.”). This trait is best captured

by a picture accompanying one of the cyclist’s letters, showing Rob midway through a lockdown

training competition with “a heartrate well in excess of the rest of us,” with Rob “going deeper

into the red than we would dare.” David Hall Ltr., Ex. B.42, at 2-3.

       Closely paired to his competitiveness, perhaps, is Rob’s willingness to commit and go all

in. This clearly comes across in the cycling story, but it is also reflected in the quantity as well as



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quality of his investment in his family and community. See Nicholas Gillet Ltr., Ex. B.9, at 2

(“He’s . . . someone who appears at ease giving 100% to every single thing he does. In many

ways, I aspire to be more like him.”); Bharat Parmar Ltr., Ex. B.16, at 1 (“What strikes me most

about Rob is his insatiable curiosity and boundless enthusiasm. When he dedicates himself to

pursue an activity, he does it wholeheartedly.”); Gisle Gluck Ltr., Ex.B.41, at 2 (“Rob is extremely

hard working and goal oriented. He will always have a clear picture of what he wants to accomplish

and work relentlessly on getting there.”).

       Rob’s make up – generous, loving, responsible, committed, optimistic, goal oriented,

competitive, curious, relentless, hard working – served him exceptionally well over the course of

his life – both personally and professionally. Many of them turned against him when he began

consulting for Inigo Philbrick in 2017.

       e.      The Last Three Years

       Since Philbrick’s flight and arrest, the civil suits, and Rob’s arrest, Rob and his family have

been in a prolonged state of crisis.




                                                                   Rob worked until late 2022, first

serving as the business director of a prominent London gallery,                     , and after losing

that job following Philbrick’s arrest, for an experiential art venture called               based in

Miami that hired him with knowledge of the case but terminated him following his plea

(             head, a colleague, and a member of Rob’s team wrote glowing letters about Rob’s

significant contributions there despite his prior termination following his guilty plea). See Max

Fishko Ltr., Ex. B.25; Jorge Mora Ltr., Ex. B.71; Carlotta Dochao Naveir Ltr., Ex. B.15. Since

Rob’s guilty plea, he has cared for the children and house full time, with            expanding her
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shifts                   to help recoup Rob’s lost earnings. The family’s savings have also been

decimated, with              using her life savings to buy out Rob’s share of their home,5 and Rob

using that money as well as his own life savings to pay for counsel. See                              wife), Ex.

B.1, at 6 (“We were always careful savers, but this has been almost entirely wiped out by this

process.”).

          The financial strain on the family has paled in comparison to the personal toll.




          Rob, of course, knowing he has ruined what he has spent his life building, is destroyed.

See B. Newland (brother), Ex. B.2, at 4 (“I had never seen him cry before this all started, but over


5
 This process was overseen by a UK solicitor who ensured transfers took place at market values and in conformity
with UK law.

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the last year he has frequently rung me up in tears, full of shame, and worry about how his

                                                                                                   ...

with me to support           through it all, and above all complete regret for all his involvement

with Inigo, like one who has made a mistake that seems stupidly obvious in hindsight.”).




       Amid all the hardship he has caused, Rob makes no excuses, accepting full responsibility

for his actions. He relates in his letter to the Court that the hardest thing he has ever had to do was

explain to his daughters that he had “actually done what the Americans were accusing me of.”

Robert Newland Ltr., Ex. A, at 14; see also,                 wife), Ex. B.1, at 4



                Rob states that, “the shame of explaining it to others has paled in comparison,” but

many letter writers noted his refusal to make excuses in that context as well. Id.; see, e.g., Max

Fishko Ltr., Ex. B.25, at 1 (“Of the many moments where Rob has impressed me over the years,

one that stands out is how he has handled this very matter. In a murky art world, where one could

easily blame circumstance or context to peers, Rob has owned his choices. He sees his mistakes



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clearly and confronts them with uncommon honesty and candor. . . . He has faced up to the truth,

difficult as it is, unwaveringly.”); Edward Sunderland Ltr., Ex. B.11, at 1 (“I was struck by his

refusal to explain away his actions, or wriggle out of any personal responsibility.); Zoe McDougall

Ltr., Ex. B.17, at 2 (“He expresses . . . responsibility for his actions.”).6

         Understanding the significant additional burden his crime will cause his family during any

period of incarceration, with               increasing her shifts to pay for additional needed childcare in

his absence, and the huge emotional toll his absence – with him incarcerated in the U.S. where

they cannot visit – will take on her and the girls’ mental health and futures, Rob has placed his

energy on his sole goal: doing whatever he can to protect and help                       and his girls given what

he did to them, what it has meant for them, and what it will mean for them. This means being with

them as much as he can while he can, owning up to what he did and taking every step he can to

handle the parts of this process he can control as well as he can, and turning his mind to how he

can rebuild and begin to make amends.

         B.       The Nature and Circumstances of the Offense7

         1.       Starting Out in the Gallery World and Meeting Philbrick

         Rob Newland did not set out to commit fraud.

         In 2012, a headhunter called Rob about leading the commercial operations of                                    ,

a top London art gallery. It was a welcome step further off the fast track                    was soon to arrive),



6
 This resounds loudly with the undersigned. In just under 10 years as a federal prosecutor in the Eastern District of
New York and just over 10 more as a defense attorney, I have never seen a person more fully own their mistake and
more unwilling to look for an excuse.
7
 As noted, Rob submitted a letter to the Court answering in extraordinary detail the question Your Honor asked
following his guilty plea: why did he commit the crime. His answer is – exponentially – the best explanation of the
nature and circumstances of the offense.




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but still a high-paying job with lots of opportunity. Rob also thought that learning about the art

side of the art world – the artists, their work, and the galleries that bought and sold it – would be

interesting.

        He arrived and immediately spotted much to do – the gallery world existed seemingly

untouched by even the most basic principles Rob had learned in business school. But there was

one standout performer. The gallery’s owner,                , bought and sold artwork out of his own

side business and he asked Rob to help him there, too. Reviewing its books, Rob saw that the

company’s lone employee, a young art trader named Inigo Philbrick, had been generating 10 times

the profits of              entire 150-person operation.

        Among Rob’s initial tasks,          asked him to keep Philbrick in his current role. He was

an enormous talent, producing incredible returns, and           wanted to make sure they continued.

Rob met and liked the confident young trader with an unerring eye for the art market, and over his

first few months, working with a               internal team and outside counsel, helped determine

the best path forward. They proposed            keep Philbrick in “golden handcuffs” by setting up

a jointly held company owned fifty-fifty by           and Philbrick. Robert Newland Ltr., Ex. A, at

2. The venture’s joint structure was reasonably complex because it needed to hide

involvement, including from many of                     most senior executives – his participation in

his own an art trading company had been causing problems with the artists                    success

depended on. The new venture’s business terms, captured in a 30-page agreement, were extensive,

but in essence the arrangement was straightforward: they agreed that              would provide the

lion’s share of the financing, Philbrick would do the trading, and the profits would be split, with

the majority reinvested to expand the operation over time.




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         The last part caught Rob’s attention. From his first review of                      books, he had been

struck by Philbrick’s eye-popping track record – his return on investment was extraordinary in any

business – and in meeting with Philbrick to try to determine what he wanted from the relationship

with           (and thereby find the best path forward), he was impressed with Philbrick’s focus on

reinvesting to grow the business and scale up his trading rather than dickering about his percentage

of the profits. Rob had been able to improve                          sales team’s performance significantly

in just a few months, but Philbrick did not work at                           The joint venture, misleadingly

called                    to disguise                ownership interest, provided Rob with a nominal

administrative role, but he saw the company’s enormous potential, and he believed that if he could

help           and Philbrick reach it, there could be a far more significant role for him managing its

sales team – an exciting proposition.

         Over the following year, the joint venture performed well, but as Rob details in his letter,

neither Philbrick nor              would stick to the terms of their agreement. This created friction,

and Rob continued to try and fix things – to find a way forward, resolve the issues between

and Philbrick, and grow the business to capture Philbrick’s value at scale. He worked hard at it

because            told him to, and because he believed in the business’s future and that it could be

an exciting part of his future, too.8

         A few months after the joint venture formed, with                        knowledge and permission,

Philbrick formed his own, separate, art trading company. The joint venture’s terms were updated

to define exactly what Philbrick was allowed to do and not do outside of it – provisions Philbrick

quickly violated, pointing to                   own breaches as justification. But still the partnership



8
 This included giving Rob 1% of company profits and the opportunity to invest in the deals, something he first took
advantage of in 2014 when he placed approximately £80,000 he earned from the sale of his old apartment in
Birmingham into a trade.

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continued, as did Rob’s hopes for it. He was, however, becoming increasingly concerned the

center might not hold. Philbrick wanted more financing than                would provide, and had

already begun to search elsewhere, finding his own, separate sources of funding for a number of

deals. He was doing the majority of them within the joint venture per its terms, but Philbrick was

the talent, and since Rob had seen him and            serially disregard their agreement’s terms, he

foresaw the day where Philbrick would fully strike out on his own – the very thing he had been

trying to prevent.

       It was in this posture that, in 2015,                          , a German company seeking

to finance art trades, approached         with the idea of investing in             works together.

When he turned them away, they sought out Philbrick. He turned them away, too, telling Rob they

were “overly money focused.” Robert Newland Ltr., Ex. A, at 5. When Rob heard this, he saw a

chance not only to help rescue the foundering joint venture, but to prove his worth in what he still

hoped could be a vibrant future business. While the sailing had not been smooth thus far, the

trades continued to produce extraordinary returns. Philbrick’s primary complaint was the lack of

funding; his primary desire, to buy more – and more expensive – art without limitations on his

freedom. Rob had met          when they pitched            and he explained to Philbrick that while

     did not want to take a lot of risk, he believed they could structure deals in a way that would

suit them both. He suggested giving        the first 10% of any profits on a trade and in exchange,

they would invest 70% up front and provide the joint venture with a disproportionate share of any

profits over 10% – an arrangement that would lead to huge returns on minimal investments if

Philbrick continued to trade the way Rob had first seen in                books, and had now been

witnessing for more than two-and-a-half years.




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       Philbrick so liked Rob’s plan that he offered Rob the chance to invest his own money in

any         deals that came about because of it, a prospect that excited Rob given what he had seen.

When Philbrick then placed the first         trade within his own company, not the joint venture, it

meant that if Rob wanted to invest, he would have to follow suit. In his letter, Rob describes this

moment as “a major fork in the road where I should have said no.” Robert Newland Ltr., Ex. A,

at 6. To understand why he did not, it is helpful to take a step back.

       2.        Rob and Philbrick’s Relationship

       Rob’s business intelligence, problem solving ability, work ethic and likability brought

immediate success at                   but he was a fish out of water.

              owner, billionaire clients, and salespeople pulled from England’s oldest families did

not come from rural Wales, did not know anyone from rural Wales, and had not, for example,

spent six months sleeping in an old Land Rover on the side of a mountain or a decade of nights

and weekends poring over spreadsheets detailing the output of complex financial models.

       Philbrick, very kindly Rob thought, helped him navigate this issue. In figuring out how to

keep Philbrick in            fold, Rob met with him, quizzing Philbrick in order to understand what

he did and what he wanted. Rob soaked up the answers. He learned which artists were good and

why, why certain works did or would increase or decrease in value, and the counterintuitive rules

by which gallery markets operated – e.g., galleries do not sell their most important artists’ new

work at the highest price possible, but far below it to the most prestigious collector or museum

possible. Rob’s curiosity for this fascinating new world was endless; the lessons he learned,

extensive and valuable. They continued for long after the joint venture began, with the two men

meeting up for drinks or dinner once or twice a month. Rob also learned much from                 a

deeply respected titan of the art world. But Rob is a numbers person, and the numbers never lie



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(or so he thought).9 He felt incredibly lucky to be getting his art dealing education from the person

who, as far as he could tell, was trading the most successfully within it.10 Over the course of their

conversations, Philbrick also taught Rob the kinds of lessons unavailable at Mitchells & Butlers

or McKinsey, or from the operations people he worked with and for at Christie’s, “kindly

mock[ing]” Rob’s taste and explaining the subtleties of what to wear, order, and, more broadly,

how to present himself that Rob knew were important coins in this new realm. Robert Newland

Ltr., Ex. A, at 4.

         Rob thought Philbrick liked and valued him, too. Philbrick vented about his frustrations

working first for and then with                , and Rob was a good audience, because he was both eager

for information he could use to smooth out their many disagreements, but also because he brought

fresh eyes and a different kind of intelligence to the business of buying and selling art. Philbrick

seemed eager to hear how Rob thought the business could be run better, could grow, and their

conversations often led to discussions about how they could turn the joint venture into a much

larger, world-beating art dealing business and gallery.

         Rob’s enthusiasm for this future drove his effort to make things work with                              Their

financing would offer a chance to scale toward it, and figuring out how to obtain it in a way that

worked for everyone offered Rob a perfect opportunity to concretely prove his value. When




9
 It is not clear (to the undersigned, at least) whether Philbrick’s amazing performance before and during Rob’s time
at               was completely real or included the same kind of fraud later revealed.
10
   See, e.g., (“Dalya Alberge, He’s sabotaged his entire life for greed’: the $86m rise and fall of Inigo Philbrick,
THE GUARDIAN (May 25, 2022), https://www.theguardian.com/artanddesign/2022/may/25/inigo-philbrick-jailed-art-
fraud (He was perceived as a “suave American dealer, with a gallery at an exclusive London address, a Midas touch
that brought soaring profits in art sales and a socialite girlfriend from Made in Chelsea.” “In 2013, he established his
own contemporary art gallery, in Mayfair and, after a reported turnover of about $130m in 2017, he opened a branch
in Miami, Florida.”); Sarah Douglas, Who Is Inigo Philbrick? Meet the Man Behind One of the Biggest Potential
Modern Art Scandals, ARTnews (Dec. 3, 2019), https://www.artnews.com/art-news/news/inigo-philbrick-dealer-
lawsuits-explained-1202670107/2/ (“Inigo Philbrick’s colleagues in the art world describe him as someone who
operated at a high level…He seemed to be a prodigy.”).

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Philbrick offered Rob the opportunity to invest in the                   deals, but only after he had placed the

first acquisition into his own company and not the joint venture, Rob agreed for two reasons. First,

he could see the writing on the wall. The conflicts between                         and Philbrick would continue,

with Philbrick’s funding appetite always outstripping                        , and both of them operating outside

their agreement whenever they saw fit. Understanding this, Rob had begun to realize his vision of

the future was unlikely to materialize within the joint venture. His belief in Philbrick, however,

was more robust than ever. After seeing Philbrick reap incredible profits in trade after trade up

close for two years, he was all the more certain he had come across a once-in-a-generation talent

whose skill could serve as the profit engine for an incredible business. He had also seen time and

again the value his business acumen brought to the commercially benighted gallery world. Rob

wanted to invest with Philbrick and                because his hopes for the future were shifting away from

the joint venture and towards a partnership with Philbrick.

         The second reason was simpler: The painting Rob had invested into had just been sold for

a solid but sober profit of 10%, and he now had nearly £90,000 that he could place into a                           deal

on the same terms as Philbrick’s, effectively leveraging his investment if Philbrick produced his

typical, spectacular returns.11

         Rob was working for                    however, and while the terms of                       and Philbrick’s

agreement permitted Philbrick to work with                      Rob investing in those deals was, he believed, a

clear violation of his employment contract. As noted, he writes that he should have said no. This

is particularly obvious in hindsight, not only because of where this next step on the path with

Philbrick eventually led, but also because from this point forward, Rob had something to hide. He



11
  On the prior deal Rob invested into,            had taken an unusual leading role, identifying a buyer for a painting
prior to its acquisition knowing it suited his taste, and incorrectly promising a much higher resale price than the
eventual 10% above acquisition.

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viewed the breach very seriously, consulting a lawyer in worry about his possible exposure. His

desire to keep this secret created a concern that helped bind him to Philbrick going forward, for if

Philbrick or      ever decided to tell Rob’s secret to         Rob thought his reputation and career

would be over.

       Rob knew he should have said no at the time, too – that is why he was concerned; he knew

what he was doing was wrong – but it is worth noting the context in which he breached his contract.

As discussed, since starting at              Rob had witnessed both            and Philbrick serially

violate the terms of their agreement, with each buying and selling works without telling the other.

Indeed, his most important job for             (at least from a profit generation perspective) was

overcoming the stresses these breaches placed on             and Philbrick’s relationship in order to

keep the joint venture alive and secret from the other               executives. Rob had seen that

these two experienced art world figures did not consider violating an obligation not to invest in art

outside a contract as a sin. In fact, it was commonplace.

       It also bears noting that these breaches were not the only questionable conduct Rob had

come to see was common practice in the gallery world. The first was “bearding,” something both

Philbrick

            engaged in enthusiastically. As noted above, galleries sell their most in-demand artist’s

new work on the “primary” market far below its true, “secondary” market value, to collectors or

museums whose ownership of the work raises the value of the artist’s prior and future work. This

rewards prior collectors and, therefore, helps maintain robust primary and secondary markets for

the artist’s work over the long term – something the artists, who are of course able to choose which

gallery represents them, are keenly aware of. Bearding involves using a straw buyer (the “beard”)

who either is the sort of collector who could access these works on the primary market from a



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gallery, or pretends to be. Working on behalf of the actual buyer, the beard buys in the primary

market at the artificially low price, and is paid back when the actual buyer purchases it from them

at a pre-agreed-upon mark-up. This leaves the actual buyer free12 to sell the work on the secondary

market at its actual market value – a significant and immediate profit on the arbitrage.

         Rob witnessed               and Philbrick acquire works via beards repeatedly during his time

at                . Philbrick used a variety, ranging from a movie star collector to a billionaire

collector’s art advisor pretending to be purchasing on his boss’s behalf to a discerning Japanese

collector who did not exist (played by the Japanese friend of one of Philbrick’s collector friends).

         used physical beards on occasion, but since he was mostly buying works from

for his own collection – a taboo that would harm                               reputation with its artists – and

thus personally signed off on the sales, he easily got by using made-up collectors




         Rob also witnessed both                 and Philbrick pay for artworks with money they acquired

from the sale of the same work – i.e., selling it before they owned it and using the sale proceeds to

buy it. Far from taboo, not only                 and Philbrick, but also

celebrated these instantly profitable trades.                      also noted disapprovingly, but matter of

factly, the way Philbrick had stretched                     money during the era prior to the joint venture

through “teeming and lading,” a practice he explained to Rob involved using the cash from one

sale to pay the creditor of the last purchase.




12
   This is not perfectly accurate. To prevent bearding, galleries make collectors sign agreements giving the gallery
right of first refusal for any resale within a given period of time following a sale. These agreements are, however,
regularly breached without consequence.

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            Another form of creative accounting involved                              use of more than €20 million

owed to a French artist to finance itself, a “win win” given the funding’s benefit to

and the artist’s preference not to receive the money and pay a new, and what he hoped would be

short-lived, 75% French super tax on earnings above $1 million.



                   too, liked Rob’s proposed plan for how they could proceed together with Philbrick,

and they and Philbrick soon made an initial acquisition, with Rob investing his own money

alongside Philbrick’s. Philbrick sold the piece months after buying it for $1.2 million, nearly

double the purchase price.13                (and Rob) were eager to do more deals, and at least ten followed

over the course of 2015 and 2016. Rob did not play a significant role, and the scale and pace of

the acquisitions soon outstripped his resources,14 but he had served as the go-between in reaching

           arrangement with Philbrick, and he continued to serve in that role, passing information back

and forth and serving as what he terms the “oil’ in the relationship, which mostly involved trying

to salve             frustration at Philbrick’s constant delays between a sale and                  receipt of their

profits. Of this, Rob writes, “I now understand the reason, but at the time I didn’t question Inigo’s

explanations.” Robert Newland Ltr., Ex. A, at 6.

           As to his own investment, Rob put just under £90,000, a large percentage of his life savings,

into the first deal. When he doubled his money, he reinvested, and over the course of the two

years, despite his inability to keep up with                   and Philbrick, his investment grew to more than

$500,000 (on paper, as reported by Philbrick).




13
     Rob has no idea if these deals were real and the profits legitimate.
14
   Philbrick offered to loan Rob the money so he could continue to invest. He accepted for a time, taking it as a sign
of friendship and Philbrick’s growing recognition of his value, but despite the profits, the volume and size of the
trades soon caused him to drop out, not wanting to get in over his head.

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       Rob had seen this kind of performance from Philbrick for years, but now he was benefiting

personally, more than quadrupling his life savings in under two years. The idea of forming a

business with Philbrick had become ever more attractive. Philbrick had proven his ability time and

again, Rob liked him and was profiting from their relationship, and while he was appreciated and

happy at                he came to feel meeting Philbrick had been kismet, and their forming a

future business together had become his goal. Philbrick also seemed to value Rob more and more

too, and their relationship had continued to grow. They still met up once or twice a month, but

after Rob charted the path forward with        Philbrick started calling in between, asking for Rob’s

take on the terms of a financing arrangement, or to look over a contract, or to help him discuss an

issue with the joint venture. He and Rob discussed the idea of going into business together, but

while Philbrick always seemed encouraging, nothing came of these discussions.

       In the summer of 2016, with the idea of more fully demonstrating his value and taking the

first real step toward a business together, Rob suggested to Philbrick that he quit                and

form his own consulting business, with Philbrick as his main client. Rob would take over

Philbrick’s back office and Philbrick would be freed to do what he did best. To Rob’s excitement,

Philbrick agreed and offered to match his                salary, paying him fees of $20,000 a month

for just 50% of his time.

       Philbrick’s generosity as to fees was great, but it was not the cause for Rob’s excitement.

When he gave           six-months’ notice in June 2016, he had seen Philbrick’s unblemished track

record up close for years, and in the books for years earlier. He had bet his life savings on Philbrick

. . . and watched it multiply by five in two years. He was sure that with his help, Philbrick’s

business would grow, and he would soon see the need to make him a full partner, managing the




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operations and sales team of a large and thriving business. He had always wanted to start his own

company. Rob was at the start of something exciting.

       He had no idea where it would lead. Rob had some misgivings about Philbrick – he found

him alarmingly carefree about breaching his agreement with                (as opposed to           who

would instruct Rob to amend the agreement to allow whatever breach he committed) – but he had

not seen anything that raised serious concerns.

       That changed in the fall of 2016. A few months after Rob had given notice but was still

working at                Philbrick called to ask for his thoughts on a contract governing a possible

long term relationship with a funder with whom Philbrick had already done several deals. Rob

quickly spotted a disadvantageous term for Philbrick and suggested a revision to fix it. But rather

than renegotiate, Philbrick said he would “stuff him.” Rob had learned the term from Philbrick

over the course of the        relationship. It described a situation in which a gallery or art dealer

acting for a collector would advise the collector to buy a work the dealer knew to be illiquid and/or

overvalued, typically in order to take it out of the dealer’s collection or to support an artist in whom

the dealer or gallerist had an interest. Philbrick had explained to         that they had been stuffed

by prior co-investors after       showed him various works in their collection they were having

trouble selling.

       Rob describes Philbrick mentioning his plan to stuff his potential new funder as “THE

moment where I should have ceased working with Inigo,” because it “revealed a side of his

character I hadn’t seen before.” Robert Newland Ltr., Ex. A, at 7. But he went forward

nevertheless because he had already resigned from                   and because he was poised to take

a huge step toward his longstanding goal of starting a business with Philbrick via the consulting

arrangement. Finally, he was sure that once he took the reins of the business (something he now



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chastises himself for ever believing would happen), he would be able to put an end to any behavior

he did not like. He considered it pointlessly risky to cut any corners when Philbrick’s core business

was so incredibly successful, and he was sure Philbrick would agree.

       Rob was in no way aware that Philbrick was committing fraud. Indeed, after decades

building an unglamourous but exceptional resume, a highly successful four years at

created options in the art world (including staying there). He left his high-paying, high-prestige,

but not-very-demanding job to join Philbrick, full of hope that together they could build an

extraordinary business.

       4.      Joining Philbrick’s Fraud

       In January 2017, Rob began consulting for Philbrick and his role in Philbrick’s business

changed dramatically. Since meeting Philbrick, Rob had been a sympathetic ear and ad hoc

business advisor/contract reader. He was now a fully engaged, professional consultant, charged

with making Philbrick’s business grow.

       From the inside, Rob saw Philbrick’s business was in chaos. Key financial records did not

exist, others did not seem to match what Philbrick had told him, and he quickly understood that

Philbrick gotten into a “vicious circle” of teeming and lading. Robert Newland Ltr., Ex. A, at 8.

Rob did not consider this fraud at the time. As noted, he had seen something similar at

     and learned the term from the gallery’s CFO. It struck him as a terrible way to run a business,

but to the degree that he could see – as noted, the records were piecemeal, and much of the

information existed only in Philbrick’s head – despite the current cash crunch, Philbrick’s overall

business looked viable.

       From here, Rob’s descent into the depths of the fraud was like Hemingway’s proverbial

bankruptcy, “gradually, then suddenly.” See, ERNEST HEMINGWAY, THE SUN ALSO RISES 42

(Scribner 1926). To free Philbrick up from the back office work and allow him to focus on making
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the deals that would correct the cash crunch, Rob immediately took over administration for          ,

an art lending company from whom Philbrick had been taking loans secured by works of art.

        needed documentation to support collateral for an upcoming loan, and when Philbrick

provided a bank statement for Rob to forward, he suspected it had been doctored. When he

confronted Philbrick about it, Philbrick said, “don’t ask,” and explained that the loan would

quickly be paid off by an upcoming deal. He was breezy and confident, as always, about his short

and long term prospects. He even offered to send the paperwork along himself if it was a problem

for Rob. Rob sent it along.

       He did not see this for the significant step it was. Rob believed deeply in Philbrick – he

had bet his life savings and career on him – and when Philbrick assured him the crisis was

temporary, and forwarding along a document someone else had doctored was necessary to save

the business, it did not strike Rob at the time as deciding to engage in fraud. He told himself all

young businesses have hard times, he just needed to persevere.

       Philbrick did quickly pay off the loan. But in the weeks and months that followed, step by

step, first small, then larger, Rob’s participation grew until, in time, he had become the day-to-day

back office for Philbrick’s fraud. He forwarded faked documents, repeated Philbrick’s lies to

investors or their assistants, and helped Philbrick strategize about who to pay and when in order to

keep what he thought of as the business, but was really the fraud, from collapsing. He used his

training to play out financial scenarios and brainstorm possible solutions. He had become a

material member of what was and would continue to be a significant fraud.

       5.      Why Did He Do It?

       At this juncture, it makes sense to turn to Your Honor’s question.

       Why did this smart, hardworking, honorable and talented person, a loving and committed

husband and father, a leader of his birth family and pillar of his community, not only commit this
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crime, but sacrifice nearly two years’ salary to do so?15 Why didn’t he just turn around the second

he saw what Philbrick was doing?

           In his letter, at each step along the way, Rob explains why. The detail of this self-

examination, including his honest, unsparing and unsympathetic self-disgust, is critical to fully

answering Your Honor’s question. Viewed from the outside, with more sympathy than Rob

affords himself, it is a sadly human story, laced with good as well as bad, strength as well as

weakness, empathy as well as deceit. It is also tragic in classical fashion, with many of the traits

that would have made Rob the man you wanted in your foxhole had he set his sights on going into

a business struggling for non-criminal reasons, causing him to stick with it, try to fix it, and dig

his hole deeper and deeper.

           Rob characterizes his actions at various decision points along the way pejoratively – his

dream of building a world-beating business with Philbrick driven by greed and ambition; his

failure to spot the warning signs before he joined the fraud attributable to foolish naivete and poor

judgment clouded by his vision for the future, together with a false pride that he could cure any

issues he saw in his hoped-for future partner. His decision not to leave Philbrick immediately was

rooted in fear of the consequences if his breach of his                            employment agreement came

to light, and his failure to understand the gravity of the situation, and his idiotic willingness to put

his and his family’s fate in Philbrick’s hands. Finally, his decision not to leave once his day-to-

day work became telling lies and strategizing about how to keep it all from collapsing, was a

combination of fear, weakness and shame.

           There is real truth in each, but the upstanding man detailed so overwhelmingly in the 96

letters is also present – the optimism, vision and energy to set a goal, pursue a dream and fight


15
     Philbrick paid Rob $20,000 for the first month. He received no other pay for the time he worked for Philbrick.


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through obstacles to get there; the willingness to assume responsibility and help fix other’s

problems; and the empathy, hopeful naivete and generosity to see the best in others.

         Rob joined                   with the best of intentions. His new job would be less demanding,

allowing more family time, but it was also a fun new challenge in a fascinating new world where

his business training set him apart. His ability to see the path from Philbrick’s talent to the

company that could best capture and scale it was precisely why                       had hired him. He worked

dutifully toward achieving that goal within                    and Philbrick’s company for more than two

years.

         Rob is right that his decision to invest in the                deals, shifting his ambition for their

future company from the joint venture to one that would not include                          was a major fork in

the road where he picked the wrong direction. He was happy to invest, but he breached his contract

primarily in hopes of achieving his dream of building a great business. He created civil liability

for himself by doing so, but if he had built what he thought he could based on what he had seen

from Philbrick, this would be a footnote in that company’s backstory of little interest or

significance. It would be what happens in business by those with the ambition and drive to build

great companies – when a path is blocked they seek another, and taking real risks, including

financial exposure, is a necessary part of achieving a dream.

         Rob continued to work hard and well for                     for another two years – his

colleague from that era describes him as a person who “unselfishly and tirelessly worked to support

and do the job he was hired to do better than anyone I've seen.”16 Graham Steele Ltr., Ex. B.6, at

2. But seeing his path closed, he shifted his entrepreneurial hope for the future from him, Philbrick

and            to him and Philbrick. If it had all worked, what he had seen was true, and Philbrick


16
  Rob was informed by former colleagues that               forbade its employees from writing letters to the court in
support, but Mr. Steele now runs his own successful business.

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turned out to be his generation’s Gagosian and Rob the man who made it happen with his optimistic

vision and willingness to see a new route up the mountain when one is closed, the same endurance

and doggedness would have been critical to making his dream a reality.

       Rob calls the next big fork in the road – Philbrick telling Rob he would stuff his funder –

“THE moment” he should have dropped Philbrick and abandoned his hopes, explaining he did not

do both because he was so close to taking a major step toward his long hoped for goal, and because

he was sure he could control Philbrick and stop this kind of behavior once he was inside his

company. He castigates himself for both, viewing his ambition through the lens of greed and his

belief he could control Philbrick in a business where he was a bit player as “incredibly naive and

short sighted.” Robert Newland Ltr., Ex. A, at 7. But in context, the choices he faced were far

less black and white, and his decision, while ultimately and spectacularly wrong, understandable.

       Rob’s vision for the future was built on his faith in Philbrick and himself. Both were

justified. He had seen Philbrick’s performance, from before he began at                in

books throughout his four years observing it up close, and there was no reason to question it. From

2011 through to the end of 2016, from         to      to the other sophisticated, wealthy collectors

and the advisors who worked for them, investing in Philbrick’s art trading ability paid off

spectacularly. And like all these others, Rob liked and trusted Philbrick. Philbrick had helped him

repeatedly, showing him the ropes of the art world, allowing him to invest and profit from

Philbrick’s talent by carving out a portion of the financing that Rob could afford, and then for a

time lending him money to continue his participation, and most importantly, by extending his hand

and giving Rob the chance to take real steps toward forming their long-discussed business.

Philbrick had done right by Rob, and while Rob had seen the smaller warning signs he noted prior

to the stuffing call, none of it was particularly worrisome, especially within the context of the



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freewheeling art world. And that formed an important part of the backdrop, too – he had known

Philbrick for four years and had not seen anything like this before. He had every reason to believe

his career bet on Philbrick would turn out as well as his investment had; every reason to believe

he could achieve his dream.

       Rob’s faith at the time in his ability to prevent the kind of behavior he saw in the stuffing

incident also makes sense. He had not seen Philbrick do something like it before, and based on

what he had seen, he justifiably perceived it to be wholly superfluous to their future business’s

success. He also justifiably had faith in himself to stop it. Rob’s vision of his future with Philbrick

did not sprout and grow in a vacuum. He had been discussing it with Philbrick for more than four

years by the time he embarked on it, and Philbrick’s encouraging Rob to quit                       and

come work for him was strong confirmation Philbrick understood Rob’s value. Why would

Philbrick pay him $20,000 a month to ignore his advice? And Rob’s faith in his own value came

from a lifetime of experience, as well. He had succeeded not just at              , showing he added

real value in the art trading space, but at every step before that, from making his way to LSE from

Wales, to succeeding at                                    in the world of business, to personal

achievements, ranging from rock climbing to an Iron Man triathlon to the dedication and tireless

perseverance he showed building the family and community he wanted. Rob had faith in himself

because he had earned it over a lifetime. Convincing Philbrick that he should not do dumb things

to jeopardize their future was a job he had reason to believe he could handle.

         On January 1, 2017, Rob became Philbrick’s consultant, taking on the job of advising

Philbrick’s business. That initial frame is important in understanding what followed. He had not

decided to embark on a life of crime at age 38. But once inside, it was hard to suddenly cast away

the frame. He thought the teeming and lading was stressful, that the business was in trouble



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because of it, but that once the current crisis was addressed, the money came in and the debts were

paid off, he would be able to start with a fresh slate.

       When confronted by the crises Philbrick’s “business” faced, Rob’s instinct was to dig in

and fix them. He was built to solve business problems and he was also built to be optimistic, see

the best in people and never give up. It was a bridge too far for him to understand that Philbrick

was a criminal and his own vision for their future company a fantasy.

       His denial was rendered easier because his first steps into the fraud were small and the

solution was always in sight as long as he trusted Philbrick. And once Rob had solved this equation

the wrong way once, like the frog who fails to jump out of the slowly heating water, each time, it

made sense to solve it the same way again. Telling all the lies caused his stomach to turn,

recognition of the overall situation led to his publicly breaking down and weeping at his gym one

morning, but he accepted Philbrick’s reassurance, and soldiered on in hopes that if they could just

get through this current crisis, they would soon be out of the woods.

       Throughout it all, Rob also clearly understood there would be significant consequences if

he could not solve the problems in front of him and keep Philbrick’s “business” (which he now

sees, understands, owns and writes about as a fraud), from failing. Fear, weakness and saving his

own skin drove him from the start – Philbrick’s threat to take the losses of a collapse out on

would, he believed, ruin his career. But a collapse would also harm        , who Rob liked and felt

responsible for since he had suggested the terms by which they could work with Philbrick and

helped their relationship along over the years. It would also harm all the other innocent investors

he knew and did not know, as well as his wife, children and his wider family that he felt financially

responsible for. If Philbrick could just do what he had done for more than five years straight, and

was saying he not only could do but was doing – the huge sale that would make it all right was in



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always sight, confidently and convincingly presented by the art world genius Rob had so recently

felt so lucky and excited to join – the nightmare would be over, the lying could stop, the real

company could begin.

       Once he got in deeper, and became more and more ashamed of what he had done, his fear

grew. He understood a collapse would be followed by lawsuits, he would likely lose everything,

and that all he had done would be exposed.         and          liked and trusted him. He liked them

as well. And yet he had betrayed them, over and over. There would not be understanding because

what he had done was unforgivable. He could not let it come out, and if the next deal Philbrick,

still breezy and confident, told him about came through, it would never have to. Rob could escape

unscathed.

       Denial is a powerful thing, and when Rob left Philbrick in 2018, 20 months after he started,

in his mind it was not to exit a fraud – he was disgusted with himself and what he was doing, but

he had been for over a year – it was because he had finally lost faith in Philbrick. Not altogether

– right up until Philbrick fled Rob would still try to soothe his fears with slender reeds of hope that

it could all pan out through the type of deal Philbrick used to pull off regularly. But he finally

understood he could not wait for the savior deal that never came. He also realized what a fool he

had been to put his fate in Philbrick’s hands. He had learned there was nothing he could do to

materially affect the business. He was admin: writing fraudulent emails, confirming and retelling

Philbrick’s lies, carefully updating the spreadsheet with all the positions Philbrick took so Rob

could keep track of it all and try to help keep it from collapsing. His idea that he could control

Philbrick and stop him from doing things like stuffing, he had long ago realized, rested on his

fantasy of a future role in a business that did not and never would exist. He finally accepted that

nothing would change. What he had been doing made him sick, and so he left, agreeing to still



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play a role in the Philbrick’s dealings with     for fear of what Philbrick would do – both to him

and to       – if he did not. Fear and weakness continued to drive him, though: a little over a year

after he left,        directors, sensing deep trouble for the first time, asked him if there were

problems with Philbrick’s business. To his shame, Rob said no.




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                                                  ANALYSIS

          A.     A Lengthy Sentence of Home Confinement with Community Service Is Just
                 Punishment

        The Court sentenced Inigo Philbrick to 84 months imprisonment for his role in the crime

of conviction. For the reasons set forth in Section 6 below, the sentence he will actually serve will

be much shorter following the application of various Bureau of Prison reductions from which Rob

as a non-U.S. citizen cannot benefit. Philbrick is projected for release on December 31, 2024, 54

months and two weeks after he was arrested on June 12, 2020.18 However, he is eligible for “pre-

release” home detention on July 3, 2024, which will cut Philbrick’s incarceration to 48 months and

three weeks, approximately 58% of his original 84-month sentence. Many of the sentence

reductions Philbrick is eligible for, and has used to dramatically shorten his time in prison, are not

available to Rob as a non-U.S. citizen.

        There is no question that Rob Newland is guilty of a serious crime. But there is also no

question – the government agrees – that it was Philbrick who began, drove, and controlled the

fraud, with Rob in a supporting role. The government also agrees Rob deserves a lesser sentence

than Philbrick. If the Court agrees, and Rob’s sentence is determined (at least in part) in relation

to Philbrick’s – i.e., what percentage of Philbrick’s sentence should Rob receive given his lesser

culpability – then the Court should use Philbrick’s actual time of incarceration as the correct

comparative measure instead of his 84-month original sentence. Because Rob is eligible for and

would receive the same 15% good conduct credit that Philbrick is receiving and presumably will



18
   Information regarding Philbrick’s prison sentence was provided by the United States Attorney’s Office, and is
attached as Exhibit C. The United States Attorney’s Office does not object to Defendant filing Exhibit C.

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continue to receive, the true measure can be determined by adding 15% to Philbrick’s actual term

of incarceration of approximately 48.7 months, resulting in approximately 56 months as the true

measure for Rob’s sentence.

       Based on this measure, for the reasons discussed below, a lengthy sentence of home

confinement in conjunction with community service would be a merciful, and also just sentence,

“sufficient, but not greater than necessary” to accomplish the goals of sentencing set forth in Title

18, United States Code Section 3553(a). See Gall v. United States, 552 U.S. 38, 47 (2007).

        1.     Rob’s Role – In Contrast to Philbrick’s – Warrants Leniency

       Rob has fully accepted responsibility for his role in the crime to which he pled guilty and

stands convicted. It is not excusing that conduct to underscore the many ways that Rob, while

Philbrick’s co-conspirator, was not near his equal, and bears nowhere near the same moral

culpability.

       To begin, Rob did not join Philbrick intending to engage in fraud. He still has no idea

which, if any, of the spectacular Philbrick trades he saw in          accounting books or observed

over the ensuing years were real and which, if any, were fake. Rob pursued his dream of starting

a great new company with Philbrick, and then made the monumental mistake of not quitting the

second he saw behind the curtain.

       When Rob stayed in the fraud despite seeing how Philbrick ran his company, he did not do

so in order to profit from victim losses. He did not squander investor funds or put them in his

pocket. Rob committed the crime, but did so with the goal of paying off everyone Philbrick owed

money, ending the need for continued lying, and, at least for a time, still hoped that he could then

begin building the legitimate business that was his long-held goal. When Philbrick made a sale

(and told him about the funds), Rob used them to pay off the fraud’s victims. He did not spend a



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dime on himself, and was horrified each time Philbrick continued to dig a deeper hole, buying new

works and creating a new debts instead of paying debts owed.

       To this point, as the Court presumably recalls but still bears repeating, Philbrick spent

extravagantly not only on his artistic bets, but he chose to live an astonishingly extravagant,

debauched existence. He routinely used victims’ money on private jets, luxury vacations, drugs,

prostitutes, and staggeringly expensive clothing. By contrast, Rob rode his bicycle to work, drove

(and still drives) a 10-year-old, second-hand Skoda (a low-end Volkswagen subsidiary that has yet

to crack the U.S. market), wears sweaters (“jumpers”) knitted by his mother, and – as is their

preference – goes camping with his family for school vacations when they are not visiting his

parents’ home near the soggy Welsh coast.

       Also unlike Philbrick, Rob did not flee, hide or squander victim assets, or drain cash that

could be used to repair losses as the business collapsed. Rob left Philbrick over a year before, and

although he should not have stayed the 20 months he did, nor helped in Philbrick’s fraud, he did

leave. Philbrick still occasionally called and copied Rob on emails after he left – as noted, Rob

was not fully out of the fraud and still denied its existence when confronted by         But for the

year prior to its collapse, Rob had no insight into the fraud’s finances, Philbrick’s deals, who had

been paid, or what was owed whom, or the status and location of the art. So when the fraud

collapsed and Philbrick fled and squandered or looted the victims’ assets, destroying much of the

value that could have been salvaged, Rob was in the dark.

       Finally, it is also relevant to note that Rob not only did not profit from any of the victim’s

losses, but instead lost significant earnings through his participation in the fraud. With the

exception of the $20,000 Philbrick paid him for the first month’s consulting, Rob’s forfeiture did

not consist of profits from the fraud. He forfeited the three paintings and desk he received from



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Philbrick as payment on investments he made in Philbrick trades before he was aware that

Philbrick had been engaging in fraud. The remainder of the forfeited cash consisted of funds

Philbrick loaned him (and which he shortly repaid) to pay taxes on the investment’s profits. But

because he received the money and items after he began working for Philbrick and became liable

as his co-conspirator, any money or object transferred from Philbrick was forfeited. Rob’s actual

profit from his work for Philbrick was $20,000 – less than one-tenth his annual salary at

      before he quit to join Philbrick. Had Rob not left                 to go into business with

Philbrick, he would have earned approximately $400,00 during the 20 months he spent with

Philbrick. Thus, Rob effectively paid $380,000 to participate in the crime, working to help prop

up Philbrick’s fraud at the below poverty-level rate of $250 a week.

       Rob’s failure to profit from the fraud not only radically distinguishes him from Philbrick,

but also from the “heartland” of fraud offenses, and supports a non-custodial sentence. See United

States v. Collins, 07-cr-01170 (S.D.N.Y.), Sent’g Tr., ECF No. 244, at 21:19-22:6; 30:1-5 (July

15, 2013) (defendant not personally profiting directly from the fraud took the conduct “far outside

the heartland of fraud cases”); United States v. Graham, 06-cr-00137 (D. Conn.), Sent’g Tr., at

64:4-13, 69:18-21 (Apr. 30, 2009) (that defendant “did not personally gain in a direct way from

his criminal conduct” warranted substantial downward departure from Guidelines); United States

v. Milne, 384 F. Supp. 2d 1309, 1310-11 (E.D. Wisc. 2005) (downward departure warranted where

defendant acted to “keep a sinking business afloat”); United States v. Costello, 16 F. Supp. 2d 36,

39 (D. Mass. 1998) (downward departures warranted where there is a large disparity between loss

and gain).

       While Philbrick did get something for this money – Rob repeatedly acknowledges his

superior administrative organization, trustworthy profile, and strategic advice helped keep the



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fraud afloat (thereby expanding and inflicting more damage), it was only Philbrick in the driver’s

seat. Rob made no deals, did not meet the vast majority of the victims, and typically learned about

a new work or investor after the fact, when Philbrick happened to mention it. His role was trying

to solve the problems Philbrick created – to work to keep it all from crashing down. The law

appropriately holds Rob accountable for any of the fraud of which he was or should have been

aware, but it is telling that he was not aware of tens of millions of losses, and that the majority of

his restitution accrued because of a spreadsheet he created to try to understand and correct the

chaos he discovered.     Rob created and updated the spreadsheet with information Philbrick

provided him – he had to, because Philbrick was his source of information – and through this

process, he was keeping a careful written record of the fraud. That included capturing his

awareness of many instances of fraud in which his sole involvement was just that – keeping track

of it on a spreadsheet aimed at keeping the whole thing from collapsing.

       Rob is guilty, and his actions contributed to the fraud and hurt its victims. But his role and

conduct paled in comparison to Philbrick’s, and we respectfully request the sentence reflect the

degree to which their crimes are not equal.




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        2.     The Extreme Aberration from Rob’s Extraordinarily Selfless, Generous,
               Family and Community-Focused Life Warrants Leniency

       As the 96 letters supporting him amply demonstrate, Rob Newland’s character was

established long before he met Inigo Philbrick. He is not revealed by the fraud. Rather, its stark

counterpoint to who he is and who he consistently has been over his lifetime underscores just how

aberrant his behavior was.

       Numerous letter writers said that they wished they were more like Rob, repeatedly noting

the generous time and care he provides to everyone in his life. Reading the 96 letters brings to

mind the final scene in Frank Capra’s “It’s A Wonderful Life,” when a community selflessly bands

together to repay a lifetime of good deeds by Jimmy Stewart’s George Bailey. It is not the quantity

of letters – though they alone speak volumes – it is the time and exquisite effort placed into them.

When the call went out that Rob Newland needed help, people across the UK settled in behind

keyboards to try to return to return to Rob what he had always provided each of them – generous

time and thoughtful solutions.

       The letters are as heartbreaking as they are heartwarming, and they underline the

extraordinary tragedy at the center of this case. Rob Newland was not a person who engendered

worry or cause for concern, he was the kind of person they wanted to be more like. And, as detailed

in the extraordinary letter quoted at length above, they were inspired to follow Rob’s lead, and

doing so, theirs became a tight-knit community unlike the anonymous one that existed before the

Newlands arrived. See supra pp. 23-24. Through the accretion of the near endless list of individual

acts of generosity – an autistic child feeling included, a plumber learning to grow his business, a

gang of neighborhood kids having a chasing game to look forward to every Sunday – Rob not only

gave to his community, he, in many ways, created it. It is a fairly odd thing to say in a sentencing




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memo, but if the world was full of more people like Rob Newland, it would be an exponentially

better place.

       The extreme breadth and volume of Rob’s service to others – not just the weekly charity

work at the soup kitchen, or his devotion as a husband, father, son, brother and friend, but the

extraordinary generosity to everyone he comes in contact with and who make up his life – does

not just underline how fundamentally good he is, and thus how unusually aberrant his offending

conduct was, but itself provides a separate basis for leniency. See United States v. Fan Wang,

1:14-cr-00411 (S.D.N.Y.), Sent’g Tr., ECF No. 29 at 24:19-26:17 (Nov. 19, 2014) (imposing

below guidelines sentence of three months of incarceration and three years of supervised release,

crediting defendant’s service to the community through tutoring students); United States v. Smith,

387 F.3d 826, 834–35 (9th Cir. 2004) (district court’s belief that it could not depart based on

aberrant behavior was clearly erroneous in part based on many letters of support submitted on

behalf of defendant indicating that the defendant had lived an exemplary life prior to the crime,

and that the crime represented a departure from her normal way of life).

       In coming to his aid via their letters, Rob’s extensive network of friends, family, colleagues

and neighbors recognized that when someone who has lived a life defined by generosity stumbles,

the right response is to help and give back. We most respectfully request that in deciding the

appropriate punishment, the Court follow their lead, and standing in for the community, give Rob,

his family, and the community that needs him, the gift of leniency. It is something Courts have

recognized in appropriate circumstances, and Rob Newland is deserving of it. See United States

v. Nesbeth, 188 F. Supp. 3d 179, 193 (E.D.N.Y. 2016) (imposing non-custodial sentence where

defendants’ crimes “were certainly a marked deviation from an exemplary law-abiding life”);

United States v. Mullings, 131 F. Supp. 3d 1, 4-5 (E.D.N.Y. 2015) (imposing non-custodial



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sentence where court concluded that fraudulent conduct was aberrational and a custodial sentence

would cause unnecessary detriment to defendant’s wife and young children); United States v.

Schulman, 16-cr-00442 (E.D.N.Y.), Sent’g Tr., ECF No. 155, at 26:22-24, 38:14 (Oct. 6, 2017)

(varying from 41 to 51 month Guidelines range and imposing non-custodial sentence where

defendant’s securities fraud scheme was “truly aberrant”); United States v. Diambrosio, No. 04-

cr-66, 2008 WL 732031, at *3 (E.D. Pa. Mar. 13, 2008) (varying from 46 to 57 month Guidelines

range and imposing non-custodial sentence where $2.8 million fraud scheme was “a marked

exception to an otherwise law-abiding life”).

        3.     Rob Has Already Endured Years of Real, Life-changing Punishment

       Rob’s participation in the crime, his arrest, and guilty plea have laid to waste much of what

he spent his life carefully building.

       His entire family is in a state of purgatorial crisis. A man so dedicated to family that he

woke up early as a teenager to be able to see his father before he left for work, woke up even earlier

to be able to finish two hours of cycling and be home for his girls’ breakfast, twice took steps down

the salary and prestige ladder to be able to spend more time at home, and dedicated himself to his

family’s care with deep and selfless dedication,




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       On top of all this, he has financially ruined his family. The money he and             carefully

saved for their and the daughter’s futures is gone to attorney’s fees. Rob, once so eager to provide

he assumed financial responsibility for his siblings and parents, has lost the ability to support even

his own family. Despite his standout performance, his last two employers fired him because of

this crime. It is unlikely any future employers will consider hiring him. Rob hopes to start a

company making play tables or designing mobility aids, and given his extraordinary energy, talent

and skill, he just might succeed. But he knows better than anyone his ability to secure a job for a

company with the skills he worked his life to develop is behind him. See United States v. Stewart,

590 F.3d 93, 141 (2d Cir. 2009) (destruction of a defendant’s career and livelihood is “substantial

punishment” that lessens the need for further punishment); United States v. Gaind, 829 F. Supp.

669, 671 (S.D.N.Y. 1993), aff’d, 31 F.3d 73 (2d Cir. 1994) (downward departure where defendant

EPA tester’s livelihood was destroyed).

       Rob has also lost much of his sense of self. He perseveres with exceptional energy and

fortitude, still doing all he can to take care of his family through acts of service if not earning. And

the letters make plain how devoted his family and community are to him. But his self-shame and

disgust are deep. They are referenced in letter after letter, and their effects unlikely to disappear

any time soon. Try as he may with the brave face he puts on:

               Rob has broken and will never recover. He was such a buoyant,
               optimistic person, with such deep faith in himself. That is gone,
               replaced with disappointment and disgust.

              wife), Ex. B.1, at 7.

       Courts in this District and elsewhere in the Second Circuit often show leniency where a

defendant like Rob expresses deep remorse, shame, and disgust about their crime. See, e.g., United

States v. Anderson, No. 18-cr-71, 2021 WL 776975, at *8 (W.D.N.Y. Mar. 1, 2021) (court granted

nine month variance based on “Defendant’s demonstrated remorse, pre-sentence rehabilitation,
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and family ties and responsibilities”); United States v. Ramos, No. 12-cr-556, 2020 WL 7128967,

at *2 (S.D.N.Y. Dec. 4, 2020) (court granted downward departure to mandatory minimum sentence

based in part on defendant’s genuine remorse and “deep regret” for his actions); United States v.

Mack, No. 17-cr-138, 2020 WL 6161255, at *1 (E.D.N.Y. Oct. 21, 2020) (court granted 15-month

downward departure based on defendant’s remorse and participation in reentry rehabilitation

programs).

       These effects have all been amplified by the slow moving-nature of the case. Rob was

fired from                    in 2020 upon Philbrick’s arrest, and he and his family have been

suffering from the fallout from his actions for years.       The period has imposed significant

punishment on Rob and his family. Courts recognize it as another reason for Your Honor to show

leniency. See United States v. Anderson, 260 F. Supp. 2d 310, 317 (D. Mass. 2003) (imposing

sentence that was “minimally sufficient” to “generally deter others from committing comparable

crimes”); see also, e.g., Gaind, 829 F. Supp. at 671 (loss of defendant’s business, assets, and

income “constitutes a source of both individual and general deterrence”); United States v. Warner,

792 F.3d 847, 854 (7th Cir. 2015) (finding sentence of probation for billionaire convicted of

multimillion dollar tax evasion scheme carrying a Guidelines range of 46 to 57 months

substantively reasonable in light of district court’s recognition of the severe collateral effects of

defendant’s “highly publicized prosecution”).

        4.     Incarceration is Unnecessary for Fair and Appropriate Punishment

       Section 3553(a) mandates consideration of the types of sentences available to achieve the

Court’s objective of imposing a fair and appropriate sentence. As discussed herein, this case

presents a compelling opportunity to consider a non-incarceratory sentence. A sentence of home

confinement with community service is available here, would provide just punishment, and avoids



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the additional and unnecessary trauma to his family that imprisoning Rob 5,000 miles from home

would entail.

       As detailed throughout this submission, this case has had a profound effect on the mental

health of Rob’s wife and young children. It goes without saying that his imprisonment in a foreign

country with limited ability for his wife and children to visit would risk profound and lasting harm

to each of them, not to mention his birth family and local community. As set forth in Section A

and in the letters submitted to the Court on Rob’s behalf compiled at Exhibit B, Rob’s continued

presence is critical to                                   , development and well-being, and his

incarceration across the Atlantic would be, at the least, a devastating blow to their developing

senses of identity. Courts have found this type of family obligation a basis for leniency. See

United States v. Prosperi, 686 F.3d 32, 42 (1st Cir. 2012); United States v. Sclamo, 997 F.2d 970,

974 (1st Cir. 1993) (affirming non-custodial sentence for defendant convicted of cocaine

trafficking in light of role as caregiver to adolescent); United States v. Alba, 933 F.2d 1117, 1122

(2d Cir. 1991) (affirming downward departure where district court concluded that defendant had

a “close-knit family whose stability depend[ed] on [his] continued presence”).

       Courts have also recognized that non-incarceratory sentences constitute real punishment.

See United States v. Leitch, No. 11-cr-609, 2013 WL 753445, at *12 (E.D.N.Y. Feb. 28, 2013) (a

probationary sentence is “significant punishment”) (emphasis in original); United States v.

Zimmerman, No. 10-cr-598, 2012 WL 3779387, at *6 (E.D.N.Y. June 19, 2012) (“Imprisonment

is not the only way we punish. Supervised release brings with it a series of significant restrictions

on a defendant’s liberty.”) (citing Gall, 552 U.S. at 48-49).

       Courts can and do impose sentences of home confinement where defendants reside in the

United Kingdom. E.g., United States v. Sarao, No. 15 CR 75 (N.D. Ill. Jan. 28, 2020) (U.K.



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defendant sentenced to home confinement for $13 million market manipulation scheme). The

Court can be wholly confident that Rob would comply with a sentence of home confinement, and

monitoring through randomly timed telephone and/or video calls is practical and easy to

implement.

        For all of the reasons above relating to Rob’s positive engagement with his community,

the community service component of a sentence of home confinement presents the Court with an

opportunity to create something uniquely positive from what is otherwise a difficult and painful

time for all involved. Rob would undoubtedly engage with his service obligations vigorously and

sincerely, to the genuine benefit of whatever community he is ordered to serve in. Should the

Court wish to pursue this option, we can readily identify numerous charitable organizations near

Rob’s home that will engage him as a volunteer for the requisite number of hours.

        A sentence of community service under 18 U.S.C. § 3563(b)(12) is strongly encouraged in

appropriate cases. The Administrative Office of the United States Courts has observed, for

example, that community service is “a flexible, personalized, and humane sanction, a way for the

offender to repay or restore the community. It is practical, cost-effective, and fair—a ‘win-win’

proposition for everyone involved. . . . Community service addresses the traditional sentencing

goals of punishment, reparation, restitution, and rehabilitation . . . . It restricts offenders’ personal

liberty[,] . . . [and] allows offenders to atone.”20 In selecting appropriate candidates to perform

community service as part of a probationary sentence, the Office of Probation and Pretrial Services

recommends that courts “look for offenders with personal and social stability, who are willing,




20
  Court & Community: An Information Series about U.S. Probation and Pretrial Services: Community Service, Office
of Probation and Pretrial Services, Administrative Office of the U.S. Courts (2007), available at
http://www.kywp.uscourts.gov/court_comm/ccmtmsvc.pdf.

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motivated, and who have no history of violence.” See id. at 2. Community service in London can

also be easily monitored by Probation.

       Here, Rob’s exceptional generosity, devotion to others, and his extraordinary positive

effects on all of the lives he touches, as well as his unflagging energy and range of personal talents

make him an ideal candidate for community service as an alternative to incarceration. It is a

sentence that would create some good, and permit Rob to create some good, from the pain he has

caused, first and foremost to his victims, but to his equally innocent family as well. Harsh

consequences to innocent loved ones are a standard side effect of sentencing, but they are not a

required and/or necessary component of it. Allowing Rob to further exercise exactly what makes

him so remarkable in the service of his community, rather than denying his contributions to it,

would replace both his community’s and his family’s additional loss and pain with growth and joy

– the Court has nearly 100 letters testifying to Rob’s lifetime of selfless service to support this

theory. Rob can serve his sentence in any number of local charities, including the one at which he

already volunteers, and his gift with children would bring a significant benefit to any needy

organization, but we respectfully request Your Honor consider his father’s suggestion and permit

him to serve either at a home or homes for the elderly, providing his energy to communities that

are often overlooked, and sorely in need of it. Indeed, a home care facility would be a place where

he can use his problem solving ability to spot issues and improve its functioning and, perhaps, to

learn better how to make the improved mobility aids he envisions building with his father.

        5.     No Need for the Deterrence Effect of Incarceration

       There is clearly no need for a prison sentence to “protect the public from future crimes” by

Rob. 18 U.S.C. § 3553(a)(2). Rob did not set out to commit the crime of conviction, he has no

prior criminal history, and he has already endured significant punishment, his participation in the

crime destroying much of the life he built and his future, and severely damaging those he loves
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most. He has also readily and robustly accepted responsibility for his actions,

                                           ,21 and struggles with a profound sense of remorse and

shame. There is simply no reason to believe Rob will ever commit another crime. See United

States v. Johnson, No. 16-cr-457-1, 2018 WL 1997975, at *5 (E.D.N.Y. Apr. 27, 2018) (no need

for specific deterrence where it is “highly unlikely that [defendant] will work again in . . . the

financial services industry”); United States v. Emmenegger, 329 F. Supp. 416, 428 (S.D.N.Y.

2004) (no risk of recidivism where offense was “particularly adapted to [the defendant’s chosen

career,” “[t]hat career is over, and his potential to commit this particular type of crime has been

eliminated”). There is no need for specific deterrence.

       With respect to general deterrence, the severe, personal, professional and financial

consequences Rob has already suffered as a result of his offense are on their own more than

sufficient to deter others from committing similar crimes. See Anderson, 260 F. Supp. 2d at 317

(imposing sentence that was “minimally sufficient” to “generally deter others from committing

comparable crimes”); see also, e.g., Gaind, 829 F. Supp. at 671 (loss of defendant’s business,

assets, and income “constitutes a source of both individual and general deterrence”); Warner, 792

F.3d at 854 (finding sentence of probation for billionaire convicted of multimillion dollar tax

evasion scheme carrying a Guidelines range of 46 to 57 months substantively reasonable in light

of district court’s recognition of the severe collateral effects of defendant’s “highly publicized

prosecution”). Rob’s prosecution, however, does not exist in a vacuum. As the leader and face of

the fraud, Philbrick’s highly publicized sentence sent a clear, loud message that fraud in the art

world is real crime and will be punished as such. The Court acknowledging the extraordinary


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factors that merit leniency toward Rob and reflecting that in a sentence narrowly tailored to who

Rob is, what his role in the crime was, and what just punishment is as for him, will hardly blur that

message. A prison term is not necessary to dissuade Rob or others from committing future crimes.

See Stewart, 590 F.3d 93 at 141 (affirming non-custodial sentence and noting that “the need for

further deterrence and protection of the public is lessened because the conviction itself already

visits substantial punishment on the defendant”); United States v. Gardellini, 545 F.3d 1089, 1095

(D.C. Cir. 2008) (affirming non-custodial sentence for tax offense and noting that leniency in

defendant’s case would not diminish the general deterrent effect of the prosecution).

        6.     Incarceration In The U.S. Would Be Disproportionate Punishment in Multiple
               Ways

       Section 3553 requires courts to consider “the need for the sentence imposed . . . to provide

the defendant with . . . correctional treatment in the most effective manner.” 18 U.S.C. §§

3553(a)(3), (a)(2)(D). Rob’s status as a non-citizen impacts this calculus in ways the Court should

be aware of, and, we submit, in considering a just sentence.

       a.      Rob Will Do Far More Time Than a U.S. Citizen Serving the Same Sentence

       To begin, as noted, the portion of his sentence Rob will actually serve in prison will be far

longer than a similarly situated American defendant.

       First, because Rob faces deportation immediately following his sentence, he cannot take

advantage of recidivism reduction programs that are ordinarily available to prisoners. Generally,

a prisoner “who successfully completes evidence-based recidivism reduction programming or

productive activities, shall earn time credits[.]” 18 U.S.C. § 3632(d)(4)(A). Usually “[a] prisoner

shall earn 10 days of time credits for every 30 days of successful participation in evidence-based

recidivism reduction programming or productive activities.” 18 U.S.C. § 3632(d)(4)(A)(i). In

addition, a prisoner determined “to be at a minimum or low risk for recidivating, who, over two

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consecutive assessments, has not increased their risk of recidivism, shall earn an additional 5 days

of time credits for every 30 days of successful participation in evidence-based recidivism reduction

programming or productive activities.” 18 U.S.C. § 3632(d)(4)(A)(i). Time credits earned in this

way are applied toward prerelease custody or supervised release. See 18 U.S.C. § 3632(d)(4)(C).

However, a prisoner who receives a final deportation order, as Rob will here, is not eligible for

pre-custody release and cannot apply the earned time credits. See 18 U.S.C. § 3632(d)(4)(E).22

As a result, a foreign citizen who will be deported after serving their sentence often serves an

additional 2-3 months for each year of the sentence imposed.

         Second, as a convicted alien Rob is ineligible for pre-release into a halfway house or home

confinement. See United States v. Conti, 14-cr-00272 (S.D.N.Y.), Sent’g Mem., ECF No. 229, at

24-26 (Mar. 4, 2026); United States v. Navarro-Diaz, 420 F.3d 581, 588 (6th Cir. 2005) (noting

that convicted alien would serve “harsher time because [he would] not be eligible for halfway

house placement”). As such, he will be forced to serve his entire sentence (less good time credit)

in prison, whereas other comparable defendants—like Philbrick—typically transfer out of custody

six months prior to their release date. See 18 U.S.C. § 3624(c)(1).

         Third, when his prison sentence is completed, Immigration and Customs Enforcement

(ICE) will be required by statute to immediately take him into custody and move him to an ICE

detention facility where he will await deportation back to the U.K. See 8 U.S.C. § 1226(c)

(requiring detention of criminal alien upon completion of prison sentence)23; United States v.


22
  Information provided by the BOP via the United States Attorney’s Office confirms that Rob would not be eligible
for FSA credits if he is subject to a final order of deportation.
23
  Post-sentence immigration detention is required for any convicted alien who is “inadmissible by reason of having
committed any offense covered in section 1182(a)(2) of this title.” See 8 U.S.C. § 1226(c)(1)(A). Section 1182(a)(2)
provides in turn that any alien “who admits having committed . . . a crime involving moral turpitude . . . or an attempt
or conspiracy to commit such a crime . . . is inadmissible.” Here, U.S. immigration authorities will almost certainly
take the position that the offense conduct is a crime of “moral turpitude” which renders Rob inadmissible and will
require him to spend time in immigration detention following any sentence. See, e.g., Patel v. Holder, 707 F.3d 77,

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Ramirez-Ramirez, 365 F. Supp. 2d 728, 732-733 (E.D. Va. 2005) (post-sentence immigration

detention generally “mean[s] a further term of detention until his removal has been completed”).

And although Rob would not challenge his removal, deportation can involve material, and

occasionally long delays. See, e.g., Handa v. Clark, 401 F.3d 1129, 1132 (9th Cir. 2015) (noting

that five weeks transpired between arrest by ICE for visa overstay and removal to the U.K.). The

conditions in ICE detention facilities are also typically worse than prisons, and the experience

serves as another amplification to the punishment of incarceration based solely on Rob’s

citizenship.24

            Philbrick’s time served provides a perfect example of why Rob’s sentencing should reflect

the restrictions on his eligibility for sentence reduction. Philbrick has a reduced sentence based on

good time credit, completion of the Residential Drug Abuse Program (“RDAP”), and FSA time

credits.25 As discussed above, Rob is not eligible for FSA time credits, and an ICE detainer could

impact his ability to obtain time off for completion of RDAP, if he is even eligible.26 Philbrick is



80 (1st Cir. 2013) (noting that “moral turpitude” has never been defined by Congress and adopting the Board of
Immigration Appeals’ definition as including “thefts intended to permanently deprive the owner of the purloined
property”); Mejia-Rodriguez v. Holder, 558 F.3d 46, 48-49 (1st Cir. 2009) (concluding that alien convicted of crimes
which involved “proof of an intent to defraud” had committed a crime of “moral turpitude”); Viveiros v. Holder, 692
F.3d 1, 2 (1st Cir. 2012) (affirming inadmissibility of alien who pled guilty to a shoplifting charge which constituted
a crime of “moral turpitude”).
24
  A January 2019 DHS inspector general report on ICE detention contractors found “serious deficiencies such as
significant understaffing, failure to provide sufficient mental health observation, and inadequate monitoring of
detainees with criminal histories.” Conditions in Migrant Detention Centres, AMERICAN OVERSIGHT (May 23,
2023), https://www.americanoversight.org/investigation/conditions-in-migrant-detention-centers. Reports of
overcrowding, unsanitary conditions, staff shortages, and lack of basic facilities like heat have been persistent. See,
e.g., US migrant centres: Photos show 'dangerous' overcrowding, BBC (Jul. 2, 2019),
https://www.bbc.com/news/business-48842434; Eileen Sullivan, A.C.L.U. Says Immigration Detention Facility
Should Be Shut Down, NYT (Sept. 22, 2022), https://www.nytimes.com/2022/09/22/us/politics/aclu-ice-
immigration-detention.html; Camilo Montoya-Galvez, Watchdog recommends relocation of detainees from ICE
facility, citing unsanitary conditions and staff shortages, CBS NEWS (Mar. 18, 2022),
https://www.cbsnews.com/news/immigration-and-customs-enforcement-detention-center-watchdog-recommends-
relocation-of-detainees/.
25
     Based on information provided by the BOP via the United States Attorney’s Office.
26
     Id.

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projected to be released from prison on December 31, 2024, and based on jail credit starting June

12, 2020, would serve only 54 months and two weeks of his 84-month sentence. See Exhibit C at

2. However, based on completion of RDAP, Philbrick is eligible for home detention starting July

3, 2024. Id. Assuming Philbrick will be released as scheduled to home detention on July 3, 2024,

he will have served just 48 months and three weeks of his 84-month sentence. The government

agrees that Rob deserves a lesser sentence than Philbrick, and Rob’s lesser sentence should reflect

the actual time Philbrick spent in confinement.

        b.      Rob Will Do Far Harder Time Than a U.S. Citizen Serving the Same Sentence

        In addition to affecting how much of an imposed sentence Rob will serve in jail, his status

as a non-citizen also impacts the conditions under which he will serve any sentence. Inviolable

BOP policy requires all non-U.S. citizens to serve any sentence in a low, medium or high security

facility. See BOP Program Statement 5100.08 at 50 (“A male or female inmate who is not a citizen

of the United States . . . shall be housed in at least a low security level institution”). Federal prison

camps (“FPCs”), to which a U.S. offender like Rob would otherwise go, are unavailable to him.

This means that Rob would do much harder time than a U.S. citizen convicted of the same crime:

               Whereas FPCs are fenceless, low security prisons are surrounded by
                two perimeter barriers, each reinforced by multiple coils of razor
                wire, gun towers, and armed patrols. Inside, low security prisons
                employ extensive video surveillance and tightly control inmates’
                lives through, among other things, a minimum of five daily “counts”
                (including a count during the middle of the night), random pat-
                downs, and strip-searches whenever they are removed from the
                facility for a visit or health appointment. These prisons also
                frequently undergo unpredictably long “lockdown” periods during
                which inmates are confined to quarters and denied recreation,
                visitation and telephone calls.

               Compared with FPCs that typically house 100 to 400 inmates, low
                security prisons usually have between 1,200 and 1,500 (and often
                exceed their designed maximum capacity). The overcrowding in

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               low security prisons is extremely stressful for inmates and noise is
               constant. The size of these institutions and the ratio of staff to
               inmates virtually guarantee unsafe and unsanitary conditions
               (leading to widespread infectious diseases and violence).

See Conti, ECF No. 229 at 21 (defense sentencing memorandum contrasting FPCs with low

security prisons).

       Not only will the physical conditions in a low security facility serve as additional

punishment, but many inmates at low security prisons are serving lengthy sentences of 10 years or

more, have been convicted of violent crimes, are affiliated with gangs, and have a much higher

propensity for violence against other inmates. See id. at 22-23. Prison in the United States would

also be excessively punishing for Rob because he would receive no visitors for lengthy periods.

His wife and one brother will fly to New York to attend the sentencing, but it is a significant burden

given the state of the family’s finances, and will be impossible to take place with regularity. This

will immeasurably amplify Rob’s punishment, particularly with regard to his young daughters.

       7.      The Guidelines Range Should Be Considered and Then Disregarded

       Courts must not presume a Guidelines sentence is reasonable, but rather “make an

individualized assessment based on the facts presented.” Gall, 552 U.S. at 39; Pepper v. United

States, 562 U.S. 476, 488 (2011) (courts must “ensure[] that the punishment will suit not merely

the offense but the individual defendant”) (internal quotations and citation omitted).

       Here, the parties not only agree on the calculation set forth in Rob’s plea agreement, they

also agree that the range that calculation produces is inconsistent with just punishment. In such

circumstances, it is appropriate for the Section 3553(a) factors to drive sentencing. See Rita v.

United States, 551 U.S. 338, 351 (2007) (district courts may find that the Guidelines fail to

“properly reflect the § 3553(a) considerations” or that “the case warrants a different sentence

regardless”); United States v. Whigham, 754 F. Supp. 2d 239, 252 (D. Mass. 2010) (below

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Guideline sentence required where the range is greater than necessary); United States v. Parris, 573

F. Supp. 2d 744, 751 (E.D.N.Y. 2008) (“it is difficult for a sentencing judge to place much stock

in a guidelines range that does not provide realistic guidance”).

       It also worth noting that in cases with large loss amounts such as this one, courts recognize

that the Guidelines operate to skew sentences upward without underlying justification in the goals

that drive sentencing. The loss amount here accounts for 24 of the 32 total offense levels. See

Plea Agreement, ECF No. 84. This use of loss amounts as the most heavily-weighted variable in

determining fraud sentences is “unusual” and “unknown to other sentencing systems,” United

States v. Algahaim, 842 F.3d 796, 800 (2d Cir. 2016), and the Sentencing Commission has never

explained its “inordinate emphasis” or “why it is appropriate to accord such huge weight to [this]

factor.” United States v. Adelson, 441 F. Supp. 2d 506, 509 (S.D.N.Y. 2006). For this reason,

district courts are permitted “to consider whether the significant effect of the loss enhancement

. . . should result in a non-Guidelines sentence.” Algahaim, 842 F.3d at 800; Kimbrough v. United

States, 552 U.S. 85, 101 (2007) (a decision to issue a non-Guidelines sentence may “be based

solely on policy considerations, including disagreements with the Guidelines”).

       Following this guidance, courts routinely criticize Section 2B1.1 for producing irrationally

long sentencing ranges. In one particularly forceful recent instance, Judge Garaufis of the Eastern

District of New York declared:

               As far as this Court can tell, the Sentencing Commission’s loss-
               enhancement numbers do not result from any reasoned
               determination of how the punishment can best fit the crime, nor any
               approximation of the moral seriousness of the crime. . . . Given the
               feeble underpinnings of the loss enhancement, it is particularly
               galling that this factor is often more or less solely responsible for a
               white-collar offender’s Guidelines sentence. . . . That this situation
               continues unabated is a great shame for the many offenders
               sentenced under this Guideline who do not receive a sentence that
               makes any sense for the actual crime of conviction.

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United States v. Johnson, No. 16-CR-547-1, 2018 WL 1997975, at *3-*4 (E.D.N.Y. Apr. 27, 2018)

(emphasis in original); see also United States v. Watt, 707 F. Supp. 2d 149, 151 (D. Mass. 2010)

(undue focus on loss amount renders Guidelines of “no help”).

       Numerous judges and commentators have likewise observed that the unjustified impact of

Section 2B1.1 is even more pronounced in cases, like this one, that involve high loss amounts. See,

e.g., United States v. Corsey, 723 F.3d 366, 378-79 & 380 (2d Cir. 2013) (Underhill, J., concurring)

(“the loss guideline [is] fundamentally flawed, especially as loss amounts climb . . . [and] [t]he

widespread perception that [it] is broken leaves district judges without meaningful guidance in high-

loss cases. . . . The higher the loss amount, the more distorted is the guideline’s advice to sentencing

judges.”); United States v. Faibish, 12-cr-265 (E.D.N.Y.), Sent’g Tr., ECF No. 271 at 23:1-12

(Mar. 10, 2016) (“[T]he guidelines . . . are just mindlessly accelerated once you have numbers of

any size added in the loss or gain table.”); Frank O. Bowman, III, Sentencing High-Loss Corporate

Frauds After Booker, 20 FED. SENT’G REP. 167, 168 (2008) (for defendants “convicted of fraud

offenses associated with very large guidelines loss calculations, the guidelines are now divorced

from both the objectives of Section 3553(a) and, frankly, common sense”).

       The guidelines blunderbuss approach to loss also fails to accurately discern moral

culpability in a given offense. See also Corsey, 723 F.3d at 381 (“not all [] loss is equally serious,”

so its value as a proxy for culpability “must be carefully examined”); Emmenegger, 329 F. Supp.

2d at 428 (loss amount is “a relatively weak indicator of moral seriousness of the offense”). As

Judge Underhill explained:

               A fraud that results in the loss of even a few thousand dollars by an
               elderly or sick person who, as a result of the loss, becomes unable
               to afford the necessities of life or medical care is much more serious
               than a fraud that results in ten or a hundred times that loss by a large
               corporation able to absorb the financial consequences . . . . Simply



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                put, contrary to the assumption underlying the loss guideline, not all
                dollars of loss are fungible.

Corsey, 723 F.3d at 381; see also United States v. Cavera, 550 F.3d 180, 192 (2d Cir. 2008)

(criticizing Guidelines for “apply[ing] without modulation to a wide range of conduct”).

        Where, as here, application of the loss enhancement generates a Guidelines sentence that

does not approach a just result, the Court’s sentencing determination should be guided by the

factors set forth in 18 U.S.C. § 3553. See, e.g., Adelson, 441 F. Supp. 2d at 515 (where Guidelines

calculation produces an overly long sentencing range, “a Court is forced to place greater reliance

on the more general considerations set forth in Section 3553(a), as carefully applied to the

particular circumstances of the case and of the human being who will bear the consequences.”).

As detailed herein, application of those factors, together with Rob’s material attempt at

cooperation, merit extraordinary leniency. The Guidelines range should therefore be considered

as they must be, but then disregarded as wholly unfit to shed light on the appropriate punishment

for this individual defendant given who he is and his role in this crime.

        8.      A Non-Incarceratory Sentence Would Not Create Unwarranted Disparities

        Under 18 U.S.C. § 3553(a)(6) the Court must consider “the need to avoid unwarranted

sentence disparities among defendants with similar records who have been found guilty of similar

conduct.”

        Rob’s sentence cannot create unwarranted disparities with the sentences of similar defendants

who have been found guilty of similar conduct because neither category exists. Rob’s role in the case,

and Rob, are entirely unique, for all of the reasons detailed herein and set forth in the letters of support

submitted herewith. See, e.g., United States v. Desmond, No. 05 CR 729-4, 2008 WL 686779, at *3

n.2 (N.D. Ill. Mar. 11, 2008) (noting that sentencing disparity considerations were inapplicable

considering the particular situation of the defendant was “so unique that few other cases are likely to


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be relevant for purposes of comparison”); United States v. Roth, No. 05 CR 792-5, 2008 WL 686783,

at *3 n.2 (N.D. Ill. Mar. 11, 2008) (same); United States v. Villazan, No. 05 CR 792-1, 2008 WL

686781, at *2 n.1 (N.D. Ill. Mar. 11, 2008) (same); cf. United States v. Moreno-Garcia, 551 F. App'x

387 (9th Cir. 2014) (finding no plain error where district court considered and dismissed defendant’s

sentencing disparity arguments as his own situation was “unique”); United States v. Sheppard, 612 F.

Supp. 194, 199 (S.D. Va. 1985) (dismissing defendant’s sentencing disparity arguments because the

case to which defendant cited to make his argument was “unique” and thus incomparable).

       Further, many cases reflect extraordinary leniency where a non-custodial sentence

constitutes the appropriate sentence tailored to the individual defendant and their role in the crime,

even without cooperation. E.g., United States v. Kelly, 16-cr-00837 (S.D.N.Y. Dec. 19, 2016)

(varying from 97 to 121 months Guidelines range and imposing non-custodial sentence for non-

cooperating defendant who pled guilty to bribing a New York pension fund official to personally

earn $200,000 from ill-gotten business); Prosperi, 686 F.3d at 41, n.9, 50 (affirming variance from

Guidelines range of 87-108 months’ to non-custodial sentence for nine years long fraud scheme

where defendants knowingly provided substandard concrete to “Big Dig” construction project and

created false documentation to cover it up); United States v. Panousos, 17-cr-10227 (D. Mass.)

(varying from 18 to 24 month Guidelines range and imposing non-custodial sentences on three

defendants who pled guilty to $1.5 million cash-skimming tax fraud scheme that was motivated

by “greed and a desire to cheat the government of the taxes they owed”); United States v. Sales,

17-cr-10110 (D. Mass.) (varying from 15 to 21 month Guidelines range and imposing non-

custodial sentence on defendant who pled guilty to embezzling over $100,000 from an elderly

bank customer which was used on personal expenses); United States v. Harkonen, 08-cr-00164

(N.D. Ca.) (varying from Guidelines range of 188 to 235 months and imposing non-custodial



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sentence on defendant convicted at trial for misrepresenting the results of a drug trial and causing

over $20 million in losses to over 250 vulnerable victims); United States v. Musgrave, 647 F.

App’x 529, 538 (6th Cir. 2016) (affirming variance from 57 to 71 months’ Guidelines range to

sentence of time served (one day) where defendant was convicted of defrauding the Small Business

Administration of $1.7 million); United States v. Kipnis, 05-cr-00727 (N.D. Ill.) (varying from

Guidelines range of 30 to 37 months and imposing non-custodial sentence following jury

conviction of general counsel who defrauded his employer of $5.5 million); United States v. Roth,

2008 WL 686783, at *1-*3 (N.D. Ill. Mar. 11, 2008) (varying from Guidelines range of 63 to 78

months and imposing non-custodial sentence on former in-house counsel who pled guilty to

making false statements to the FBI and participating in scheme to defraud a hospital of $14.7

million).

                                         CONCLUSION



                                                                              He has been severely

punished already and, for the reasons discussed herein, we respectfully submit that given his

personal history and secondary role in the offense, adding an incarceratory sentence of any length

would be “greater than necessary to serve the purposes of sentencing,” Gall, 552 U.S. at 44,

counterproductive, and needlessly harmful to Rob’s children. We respectfully propose a lengthy

period of home confinement in concert with community service. See Mullings, 131 F. Supp. 3d

at 4 (“In view of the excessive incarceration rates in the recent past and their unnecessary,

deleterious effects on individuals sentenced, society and our economy, justifiable parsimony in

incarceration is prized.”).




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        Rob’s mother’s letter signed off with a prayer for the Court: “May you be blessed with

superhuman wisdom.” We join her, and request Your Honor grant Rob extraordinary leniency,

but leniency that is justified. Leniency that is just.

 Dated: September 10, 2023                           Respectfully submitted,
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